COLONY INSURANCE
 POLICY 2014 - 2015
                                                                                                      103 GL 0003631-00




                                                                                                 IL P 001 01 04

   U.S. TREASURY DEPARTMENT'S OFFICE OF FOREIGN
              ASSETS CONTROL ("OFAC")
         ADVISORY NOTICE TO POLICYHOLDERS
No coverage is provided by this Policyholder Notice nor can it be construed to replace any provisions of your
policy. You should read your policy and review your Declarations page for complete information on the coverages
you are provided.
This Notice provides information concerning possible impact on your insurance coverage due to directives issued
by OFAC. Please read this Notice carefully.
The Office of Foreign Assets Control (OFAC) administers and enforces sanctions policy, based on Presidential
declarations of "national emergency". OFAC has identified and listed numerous:
   • Foreign agents;
   • Front organizations;
   • Terrorists;
   • Terrorist organizations; and
   • Narcotics traffickers;
as "Specially Designated Nationals and Blocked Persons". This list can be located on the United States Treas-
ury's web site - http//www.treas.gov/ofac.
In accordance with OFAC regulations, if it is determined that you or any other insured, or any person or entity
claiming the benefits of this insurance has violated U.S. sanctions law or is a Specially Designated National and
Blocked Person, as identified by OFAC, this insurance will be considered a blocked or frozen contract and all
provisions of this insurance are immediately subject to OFAC. When an insurance policy is considered to be such
a blocked or frozen contract, no payments nor premium refunds may be made without authorization from OFAC.
other limitations on the premiums and payments also apply.




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                                                                                             103 GL 0003631-00




                                                            -ii"    ARGO GROUP US


                                       Privacy Policy
Argo Group US, Inc. ("Argo Group") recognizes the importance of maintaining the privacy of our
customers and the confidentiality of each individual's nonpublic personal information, including
Social Security numbers. We take seriously the responsibility that accompanies our collection
of nonpublic personal information, including Social Security numbers. Accordingly, Argo's
corporate policy is to protect the privacy and confidentiality of our consumers and their
nonpublic personal information as required by law.

Information Collection and Use

In order to conveniently and effectively provide and service the insurance products we sell, we
may collect and use Social Security numbers and other nonpublic personal information. As
such, this policy does not prohibit the collection or use of Social Security numbers and
nonpublic personal information where legally authorized and/or required. This policy complies
with the requirements of the Gramm-Leach-Bliley Act (GLBA) and applicable federal and state
laws and regulations implementing the act. Such laws impose certain obligations upon third
persons and organizations with which we share nonpublic personal information of our
consumers, customers, former customers, or claimants. Accordingly, we prohibit the
unauthorized disclosure of Social Security numbers and other protected nonpublic personal
information, except as legally required or authorized.

Information Sharing and Disclosure

Argo Group does not rent, sell or share your personally identifiable information (with
nonaffiliated third parties. Argo Group may, however, share personally identifiable information
with third-party contractors. These third-party contractors are prohibited from using the
information for purposes other than performing services for Argo Group. Argo Group may
disclose your information to third parties when obligated to do so by law and to investigate,
prevent, or take action regarding suspected or actual prohibited activities, including but not
limited to fraud and situations involving the security of our operations and employees.

Finally, Argo Group may transfer information, including any personally identifiable information,
to a successor entity in connection with a corporate merger, consolidation, sale of all or a
portion of its assets, bankruptcy, or other corporate change.

Security

In order to protect your nonpublic personal information, we limit access to nonpublic personal
information by only allowing authorized personnel to have access to such information.
Furthermore, we maintain physical, electronic and procedural security protections to safeguard
the nonpublic personal information in our records. Documents that contain an individual's
protected information are destroyed before disposal; this destruction process includes the
shredding of print and disposable media and deletion of electronic media. Argo Group has
security measures in place to protect the loss, misuse and alteration of the information under
our control. Our hardware infrastructure is housed in a controlled access facility that restricts
access to authorized individuals. The network infrastructure is protected by a firewall and traffic
is monitored and logged both on the firewall and servers. Sensitive administrative activities are
carried out over secure, encrypted links between our offices and hosting facility. Administrative


PRIVACY NOTICE - 0213



                                                                                       CICMSJ0002
                                                                                        103 GL 0003631-00




access is limited not only to authorized employees but also to specific remote administration
protocols and IP addresses. All employees with access to personally identifiable information
have been advised of Argo Group's security policies and practices. Argo Group will continue to
conduct internal audits of its security systems and make all necessary enhancements to ensure
the safety of the website and its users. No method of transmission over the Internet or method
of electronic storage is 100% secure; therefore, while Argo Group uses commercially
acceptable means to protect your information, we cannot guarantee absolute security.

Any Argo Group employee who becomes aware of the inappropriate use or disclosure of Social
Security numbers and other protected nonpublic personal information is expected to
immediately report such behavior to the General Counsel for further action.

Corrected/Updated Information

This policy applies to certain insureds of Argo Group, including but not limited to worker's
compensation claimants. If you have any questions about this Privacy Policy, please contact:

                                      General Counsel
                                    Argo Group US, Inc.
                                      P.O. Box 469011
                                  San Antonio, Texas 78246
                                       (210) 321-8400

*Note: Argo Group is the parent of Argonaut Insurance Company; Argonaut-Southwest
Insurance Company; Argonaut-Midwest Insurance Company; Argonaut Great Central Insurance
Company; Argonaut Limited Risk Insurance Company; ARIS Title Insurance Corporation; Select
Markets Insurance Company; Colony Insurance Company; Colony National Insurance
Company; Colony Specialty Insurance Company; Rockwood Casualty Insurance Company;
Somerset Casualty Insurance Company; Grocers Insurance Agency, Inc.; Central Insurance
Management, Inc.; Alteris Insurance Services, Inc.; Trident Insurance Services, Inc.;
Commercial Deposit Insurance Agency, Inc.; Sonoma Risk Management, LLC; John Sutak
Insurance Brokers, Inc.; Colony Management Services, Inc.; Argonaut Management Services,
Inc.; and Argonaut Claims Management, LLC. This Privacy Policy applies to all companies and
business produced or underwritten within Argo Group.




PRIVACY NOTICE - 0213



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                                                                                    103 GL 0003631-00



        IMPORTANT NOTICE                                 AVISO IMPORTANTE
To obtain information or make a complaint:         Para obtener informacion o para someter
                                                   una queja:

You may call Argo Group's toll-free                Usted puede llamar al numero de telefono
telephone number for information or to make        gratis de Argo Group para informaci6n o
a complaint at:                                    para someter una queja al:

               1-877 -47 4-8808                                 1-877-474-8808

You may contact the Texas Department of            Puede comunicarse con el Departmento de
Insurance   to  obtain    information  on          Seguros de Texas para obtener informacion
companies, coverages, rights or complaints         acerca de companias, coberturas, derechos
at:                                                o quejas al:

               1-800-252-3439                                   1-800-252-3439

You may write the Texas Department of              Puede escribir al Departmento de Seguros
Insurance:                                         de Texas:

              P.O. Box 149104                                    P.O. Box 149104
         Austin, Texas 78714-9104                           Austin, Texas 78714-9104
           Fax#: (512) 475-1771                               Fax#: (512) 475-1771
       Web: http://www.tdi.texas.gov                      Web: http://www.tdi.texas.gov
 E-Mail: consumerprotection@tdi.texas.gov           E-Mail: consumerprotection@tdi.texas.gov


          PREMIUM OR CLAIM                            DISPUTES SOBRE PRIMAS 0
              DISPUTES                                       RECLAMOS

Should you have a dispute concerning your          Si tiene una disputa concerniente a su
premium or about a claim you should contact        prima o a un reclamo, debe comunicarse
the agent first. If the dispute is not resolved,   con el agente primero. Si no se resulve la
you may contact the Texas Department of            disputa, puede entonces comunicarse con
Insurance.                                         el Departmento de Seguros de Texas.


  ATTACH THIS NOTICE TO YOUR                         UNA ESTE AVISO A SU POLIZA
            POLICY
                                                   Este aviso es solo para proposito de
This notice is for information only and does       informacion y no se convierte en parte o
not become part or condition of the attached       condicion del documento adjunto.
document.




TXNOTICE 0613                                                                     Page 1 of 1



                                                                                 CICMSJ0004
                                                                                                103 GL 0003631-00


    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  SERVICE OF SUIT
If service of process is to be made upon the Company by way of hand delivery or courier service,
delivery should be made to the Company's principal place of business:

Claims Manager
 Colony Insurance Company,
 Colony National Insurance Company, or
 Colony Specialty Insurance Company
 8720 Stony Point Parkway, Suite 400
  Richmond, Virginia 23235

If service of process is to be made upon the Company by way of the U.S. Postal Service, the following
mailing address should be used:

General Counsel
 Colony Insurance Company,
 Colony National Insurance Company, or
 Colony Specialty Insurance Company
 P.O. Box 469011
 San Antonio, Texas 78246

Where required by statute, regulation, or other regulatory directive, the Company appoints the
Commissioner of Insurance, or other designee specified for that purpose, as its attorney for
acceptance of service of all legal process in the state in any action or proceeding arising out of this
insurance.

The Commissioner or other designee is requested to forward process to the Company as shown
above, or if required in his/her particular state, to a designated resident agent for service of process.


         ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




U094-0613                                                                                    Page 1 of 1



                                                                                          CICMSJ0005
                                                                                                        103 GL 0003631-00




                                         SIGNATURE PAGE

IN WITNESS WHEREOF, the company issuing this policy has caused this policy to be signed by its President and its
Secretary and countersigned (if required) on the Declarations page by a duly authorized representative of the company.
This endorsement is executed by the company stated in the Declarations.


Colony Insurance Company




         President                     Secretary




SIGCIC 1013                                          Argo Group                                           Page 1 of 1



                                                                                                  CICMSJ0006
                                                                                                                         103 GL 0003631-00
                                       COMMON POLICY DECLARATIONS

     Colony Insurance Company                                         POLICY NUMBER:                    103 GL 0003631-00
     8720 STONY POINT PARKWAY, SUITE 400
     RICHMOND, VA 23235                                               RENEWAL OF:                       NEW

                                                                                                                     Issued 04/25/2014

1.   NAMED INSURED AND MAILING ADDRESS:                    PRODUCER: 0010086
     D L Phillips Construction, Inc.                           Med James, Inc.
     P.O. Box 40159                                            8595 College Blvd
     Austin, TX 78704                                          Shawnee Mission, KS 66210


2.   POLICY PERIOD: From 04/21/2014 to 04/21/2015 12 01 AM. Standard Time at your Mailing Address above.

IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL OF THE TERMS OF THIS POLICY, WE AGREE \/\J1TH
YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY

3.   THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS FOR WHICH A PREMIUM 15 INDICATED.
     THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
                                       COVERAGE PARTS                                                                         PREMIUM
     Commercial General Liability Coverage Form                                                                              $44,997.00
                          Premium charge for coverage of certified acts of terrorism:
                                          (Per Terrorism Policyholder Disclosure attached.)
                                                or
     Coverage for certified acts of terrorism has been rejected; exclusion attached.                           ~
                                          (Per Terrorism Policyholder Disclosure attached.)


Deposit Premium shown is payable at inception                                    Deposit Premium:                            $44,997.00
                                                                 Minimum Premium At Audit:                                   $40,509.80
                                                                           Total Policy Premium:                             $44,997.00
                                                                                    Inspection Fee:                               $250.00
4.   FORMS APPLICABLE TO ALL COVERAGES:

                                    See Form U001 - Schedule of Forms and Endorsements

5.   BUSINESS DESCRIPTION:         Roofing Contractor


Countersigned:                                                By:
                            Date                                    ---------,,A"'ut""ho""ri,,.,ze""d""R.,..,ep,,,.re,.,,s.,..,en"'ta""tiv""e------




                                                                                      its perm1ss1on
DCJ6550MD (11/08)




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                Insured:   D L Phillips Construction, Inc.                             U001 (10/04)
         Policy Number:    103 GL 0003631-00


               SCHEDULE OF FORMS AND ENDORSEMENTS
Forms and Endorsements applying to and made part of this policy at the time of issuance:

      NUMBER                                                 TITLE

ILP001-0104                 US TREASURY DEPARTMENT'S OFFICE OF FOREIGN ASSETS
                            CONTROL ("OFAC") ADVISORY NOTICE TO POLICYHOLDERS
PRIVACYNOTICE-0213          PRIVACY NOTICE
TXNOTICE-0613               IMPORTANT NOTICE
U094-0613                   SERVICE OF SUIT
SIGCIC-1013                 SIGNATURE PAGE
DCJ6550MD-1108              COMMON POLICY DECLARATIONS
U001-1004                   SCHEDULE OF FORMS & ENDORSEMENTS
DCJ6553-0702                COMMERCIAL GENERAL LIABILITY COVERAGE PART
                            DECLARATIONS
CG0001-1207                 COMMERCIAL GENERAL LIABILITY COVERAGE FORM
IL0017-1198                 COMMON POLICY CONDITIONS
U649C-0111                  CONTRACTORS PAC
U651-1010                   IDENTITY RECOVERY COVERAGE
UCG2175-0711                CERTIFIED ACTS OF TERRORISM AND OTHER ACTS OF TERRORISM
                            EXCLUSION
CG0068-0509                 RECORDING AND DISTRIBUTION OF MATERIAL OR INFORMATION IN
                            VIOLATION OF LAW EXCLUSION
CG2149-0999                 TOTAL POLLUTION EXCLUSION ENDORSEMENT
CG2167-1204                 FUNGI OR BACTERIA EXCLUSION
CG2186-1204                 EXCLUSION - EXTERIOR INSULATION AND FINISH SYSTEMS
CG2196-0305                 SILICA OR SILICA-RELATED DUST EXCLUSION
CG2426-0704                 AMENDMENT OF INSURED CONTRACT DEFINITION
IL0021-0908                 NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT (BROAD
                            FORM)
U002 MD-0212                MINIMUM POLICY PREMIUM
U007-0410                   OPEN ROOF AND HEATING EQUIPMENT COVERAGE LIMITATION
U009-0310                   AIRCRAFT PRODUCTS AND GROUNDING EXCLUSION
U048-0310                   EMPLOYMENT RELATED PRACTICES EXCLUSION
U070AS-0512                 DEDUCTIBLE LIABILITY INSURANCE
U073-0707                   EXCLUSION - CONTINUOUS, PROGRESSIVE OR REPEATED - BODILY
                            INJURY, PROPERTY DAMAGE, OR PERSONAL AND ADVERTISING
                            INJURY
U089-0310                   SUBSIDENCE EXCLUSION
U155-0310                   ABSOLUTE AUTO, AIRCRAFT & WATERCRAFT EXCLUSION
U173AS-0708                 CANCELLATION
U184-0702                   INSPECTION
U250-0310                   COMPOSITE RATE ENDORSEMENT
U252-0210                   WARRANTY OF SUBCONTRACTOR LIMITS
U265-0310                   PROFESSIONAL SERVICES EXCLUSION
U266-0510                   EXCLUSION - USL&H, JONES ACT OR OTHER MARITIME LAWS
U267A-0813                  CROSS SUITS EXCLUSION
U276-0310                   EXCLUSION - BREACH OF CONTRACT
U466-0212                   EXCLUSION - LEAD
U467-0212                   EXCLUSION - ASBESTOS
U483-1211                   EXCLUSION - DEDICATED INSURANCE PROGRAM(S)
U527-0913                   EXCLUSION - NEW RESIDENTAL CONSTRUCTION WORK EXCEPT AS
                            SPECIFIED
U531-0413                   EXCLUSION - INJURY TO TEMPORARY WORKER, VOLUNTEER
                            WORKER, OR CASUAL WORKER
U638-0210                   EXCLUSION - IMPORTED DRYWALL DAMAGE - RESIDENTIAL
                            CONSTRUCTION
U701-1011                   EXCLUSION - WORK HEIGHT




                                                                                           CICMSJ0008
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      NUMBER                               TITLE

U730-0212      EXCLUSION - BENZENE
U884-1013      CONDITIONAL EXCLUSION OF TERRORISM (RELATING TO
               DISPOSITION OF FEDERAL TERRORISM RISK INSURANCE ACT)




                                                                  CICMSJ0009
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COMMERCIAL GENERAL LIABILITY COVERAGE PART DECLARATIONS

This coverage part consists of this Declarations form, the Common Policy Conditions, the Commercial General Liability
Coverage Form and the endorsements indicated as applicable.

POLICY NO.              103 GL 0003631-00
NAMED INSURED:          D L Phillips Construction, Inc.

LIMITS OF INSURANCE
   General Aggregate Limit (other Than Products - Completed Operations)                                  $2,000,000
   Products Completed Operations Aggregate Limit                                                         $2,000,000
   Personal & Advertising Injury Limit                                                                   $1,000,000
   Each Occurrence Limit                                                                                 $1,000,000
   Damage To Premises Rented To You Limit                                                                  $100,000     Any One Premises
   Medical Expense Limit                                                                                     $5,000     Any One Person

RETROACTIVE DATE (CG 00 02 only) - Coverage A of this insurance does not apply to "bodily injury" or "property
damage" which occurs before Retroactive Date, if any, shown below
Retroactive Date:                                           (Enter Date or "None" if no Retroactive Date Applies)
   Location of All Premises You Own, Rent or Occupy (Same as Item 1 unless shown below):
   128 Park 35 CVS, Austin, TX 787 45
   806 Mozelle, Pharr, TX 78577
   439 Industrial Blvd. , Austin, TX 78745
                                                                                                                       ADVANCE PREMIUM
CLASSIFICATION                 CODE NO             PREMIUM BASIS                             RATE           PR/CO                ALL OTHER
Contractors -                  91585               Sub Cost If Any                           $24.38         Included                    If Any
subcontracted work
- in connection
with construction,
reconstruction, repair or
erection of buildings -
NOC
Roofing - residential          98677               Gross Sales $4,000,000                    $11.22         Included                $44,872.00
over three stories and/or
commercial
Identity Recovery                                                                            N/A                                      $125.00
Coverage                                                                                                                          Fully Earned
FORMS/ ENDORSEMENTS APPLICABLE:                                                                      TOTAL PREMIUM
   SEE FORM U001 - SCHEDULE OF FORMS AND ENDORSEMENTS                                                   FOR THIS                   $44,997.00
                                                                                                     COVERAGE PART
FORM OF BUSINESS: Corporation
   Audit Period: Annual unless otherwise stated:




DCJ6553 (07-02)              Includes copyrighted material of Insurance Services Office, Inc. with its permission.
                                              Copyright, Insurance Services Office, Inc., 1984




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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG00011207

   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.         b. This insurance applies to "bodily injury" and
Read the entire policy carefully to determine rights,           "property damage" only if:
duties and what is and is not covered.                          (1) The "bodily injury" or "property damage" is
Throughout this policy the words "you" and "your"                   caused by an "occurrence" that takes place
refer to the Named Insured shown in the Declarations,               in the "coverage territory";
and any other person or organization qualifying as a            (2) The "bodily injury" or "property damage"
Named Insured under this policy. The words "we",                    occurs during the policy period; and
"us" and "our" refer to the company providing this
insurance.                                                      (3) Prior to the policy period, no insured listed
                                                                    under Paragraph 1. of Section II - Who Is
The word "insured" means any person or organization                 An Insured and no "employee" authorized
qualifying as such under Section II - Who Is An In-                 by you to give or receive notice of an "oc-
sured.                                                              currence" or claim, knew that the "bodily in-
other words and phrases that appear in quotation                    jury" or "property damage" had occurred, in
marks have special meaning. Refer to Section V -                    whole or in part. If such a listed insured or
Definitions.                                                        authorized "employee" knew, prior to the
SECTION I - COVERAGES                                               policy period, that the "bodily injury" or
                                                                    "property damage" occurred, then any con-
COVERAGE A BODILY INJURY AND PROPERTY                               tinuation, change or resumption of such
DAMAGE LIABILITY                                                    "bodily injury" or "property damage" during
1. Insuring Agreement                                               or after the policy period will be deemed to
                                                                    have been known prior to the policy period.
   a. We will pay those sums that the insured be-
      comes legally obligated to pay as damages               c. "Bodily injury" or "property damage" which
      because of "bodily injury" or "property damage"            occurs during the policy period and was not,
      to which this insurance applies. We will have              prior to the policy period, known to have oc-
      the right and duty to defend the insured against           curred by any insured listed under Paragraph
      any "suit" seeking those damages. However,                 1. of Section II - Who Is An Insured or any
      we will have no duty to defend the insured                 "employee" authorized by you to give or re-
      against any "suit" seeking damages for "bodily             ceive notice of an "occurrence" or claim, in-
      injury" or "property damage" to which this in-             cludes any continuation, change or resumption
      surance does not apply. We may, at our discre-             of that "bodily injury" or "property damage" after
      tion, investigate any "occurrence" and settle              the end of the policy period.
      any claim or "suit" that may result. But:              d. "Bodily injury" or "property damage" will be
     (1) The amount we will pay for damages is                  deemed to have been known to have occurred
         limited as described in Section Ill - Limits           at the earliest time when any insured listed un-
         Of Insurance; and                                      der Paragraph 1. of Section II - Who Is An In-
                                                                sured or any "employee" authorized by you to
     (2) Our right and duty to defend ends when we
                                                                give or receive notice of an "occurrence" or
         have used up the applicable limit of insur-
                                                                claim:
         ance in the payment of judgments or set-
         tlements under Coverages A or B or medi-               (1) Reports all, or any part, of the "bodily injury"
         cal expenses under Coverage C.                             or "property damage" to us or any other in-
                                                                    surer;
      No other obligation or liability to pay sums or
      perform acts or services is covered unless ex-            (2) Receives a written or verbal demand or
      plicitly provided for under Supplementary Pay-                claim for damages because of the "bodily
      ments - Coverages A and B.                                    injury" or "property damage"; or
                                                                (3) Becomes aware by any other means that
                                                                    "bodily injury" or "property damage" has oc-
                                                                    curred or has begun to occur.




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                                                                                                  CICMSJ0011
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   e. Damages because of "bodily injury" include                 c. Liquor Liability
      damages claimed by any person or organiza-                    "Bodily injury" or "property damage" for which
      tion for care, loss of services or death resulting            any insured may be held liable by reason of:
      at any time from the "bodily injury".
                                                                   (1) Causing or contributing to the intoxication of
2. Exclusions                                                          any person;
   This insurance does not apply to:                               (2) The furnishing of alcoholic beverages to a
   a. Expected Or Intended Injury                                      person under the legal drinking age or un-
      "Bodily injury" or "property damage" expected                    der the influence of alcohol; or
      or intended from the standpoint of the insured.              (3) Any statute, ordinance or regulation relating
      This exclusion does not apply to "bodily injury"                 to the sale, gift, distribution or use of alco-
      resulting from the use of reasonable force to                    holic beverages.
      protect persons or property.                                  This exclusion applies only if you are in the
   b. Contractual Liability                                         business of manufacturing, distributing, selling,
      "Bodily injury" or "property damage" for which                serving or furnishing alcoholic beverages.
      the insured is obligated to pay damages by                d. Workers' Compensation And Similar Laws
      reason of the assumption of liability in a con-               Any obligation of the insured under a workers'
      tract or agreement. This exclusion does not                   compensation, disability benefits or unem-
      apply to liability for damages                                ployment compensation law or any similar law
     (1) That the insured would have in the absence              e. Employer's Liability
         of the contract or agreement; or
                                                                    "Bodily injury" to
     (2) Assumed in a contract or agreement that is
         an "insured contract", provided the "bodily               (1) An "employee" of the insured arising out of
         injury" or "property damage" occurs subse-                    and in the course of:
         quent to the execution of the contract or                    (a) Employment by the insured; or
         agreement. Solely for the purposes of liabil-
                                                                      (b) Performing duties related to the conduct
         ity assumed in an "insured contract", rea-
                                                                          of the insured's business; or
         sonable attorney fees and necessary litiga-
         tion expenses incurred by or for a party                  (2) The spouse, child, parent, brother or sister
         other than an insured are deemed to be                        of that "employee" as a consequence of Pa-
         damages because of "bodily injury" or                         ragraph (1) above.
         "property damage", provided:                               This exclusion applies whether the insured
         (a) Liability to such party for, or for the cost           may be liable as an employer or in any other
             of, that party's defense has also been                 capacity and to any obligation to share dam-
             assumed in the same "insured contract";                ages with or repay someone else who must
             and                                                    pay damages because of the injury.
         (b) Such attorney fees and litigation ex-                  This exclusion does not apply to liability as-
             penses are for defense of that party                   sumed by the insured under an "insured con-
             against a civil or alternative dispute res-            tract".
             olution proceeding in which damages to
             which this insurance applies are alleged.




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  f. Pollution                                                    (d) At or from any premises, site or location
   (1) "Bodily injury" or "property damage" arising                   on which any insured or any contractors
       out of the actual, alleged or threatened dis-                  or subcontractors working directly or in-
       charge, dispersal, seepage, migration, re-                     directly on any insured's behalf are per-
       lease or escape of "pollutants":                               forming operations if the "pollutants" are
                                                                      brought on or to the premises, site or lo-
       (a) At or from any premises, site or location                  cation in connection with such opera-
           which is or was at any time owned or                       tions by such insured, contractor or sub-
           occupied by, or rented or loaned to, any                   contractor. However, this subparagraph
           insured. However, this subparagraph                        does not apply to:
           does not apply to:
                                                                         (i) "Bodily injury" or "property damage"
           (i) "Bodily injury" if sustained within a                         arising out of the escape of fuels, lu-
               building and caused by smoke,                                 bricants or other operating fluids
               fumes, vapor or soot produced by or                           which are needed to perform the
               originating from equipment that is                            normal electrical, hydraulic or me-
               used to heat, cool or dehumidify the                          chanical functions necessary for the
               building, or equipment that is used to                        operation of "mobile equipment" or
               heat water for personal use, by the                           its parts, if such fuels, lubricants or
               building's occupants or their guests;                         other operating fluids escape from a
          (ii) "Bodily injury" or "property damage"                          vehicle part designed to hold, store
               for which you may be held liable, if                          or receive them. This exception does
               you are a contractor and the owner                            not apply if the "bodily injury" or
               or lessee of such premises, site or                           "property damage" arises out of the
               location has been added to your pol-                          intentional discharge, dispersal or re-
               icy as an additional insured with re-                         lease of the fuels, lubricants or other
               spect to your ongoing operations                              operating fluids, or if such fuels, lu-
               performed for that additional insured                         bricants or other operating fluids are
               at that premises, site or location and                        brought on or to the premises, site or
               such premises, site or location is not                        location with the intent that they be
               and never was owned or occupied                               discharged, dispersed or released as
               by, or rented or loaned to, any in-                           part of the operations being per-
               sured, other than that additional in-                         formed by such insured, contractor
               sured; or                                                     or subcontractor;
          (iii) "Bodily injury" or "property damage"                    (ii) "Bodily injury" or "property damage"
                arising out of heat, smoke or fumes                          sustained within a building and
                from a "hostile fire";                                       caused by the release of gases,
                                                                             fumes or vapors from materials
       (b) At or from any premises, site or location
                                                                             brought into that building in connec-
           which is or was at any time used by or
                                                                             tion with operations being performed
           for any insured or others for the han-
                                                                             by you or on your behalf by a con-
           dling, storage, disposal, processing or
                                                                             tractor or subcontractor; or
           treatment of waste;
                                                                        (iii) "Bodily injury" or "property damage"
       (c) Which are or were at any time trans-
                                                                              arising out of heat, smoke or fumes
           ported, handled, stored, treated, dis-
                                                                              from a "hostile fire".
           posed of, or processed as waste by or
           for:                                                   (e) At or from any premises, site or location
                                                                      on which any insured or any contractors
           (i) Any insured; or
                                                                      or subcontractors working directly or in-
          (ii) Any person or organization for whom                    directly on any insured's behalf are per-
               you may be legally responsible; or                     forming operations if the operations are
                                                                      to test for, monitor, clean up, remove,
                                                                      contain, treat, detoxify or neutralize, or
                                                                      in any way respond to, or assess the ef-
                                                                      fects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                 (5) "Bodily injury" or "property damage" arising
         any:                                                         out of:
        (a) Request, demand, order or statutory or                   (a) The operation of machinery or equip-
            regulatory requirement that any insured                      ment that is attached to, or part of, a
            or others test for, monitor, clean up, re-                   land vehicle that would qualify under the
            move, contain, treat, detoxify or neutral-                   definition of "mobile equipment" if it were
            ize, or in any way respond to, or assess                     not subject to a compulsory or financial
            the effects of, "pollutants"; or                             responsibility law or other motor vehicle
        (b) Claim or "suit" by or on behalf of a gov-                    insurance law in the state where it is li-
            ernmental authority for damages be-                          censed or principally garaged; or
            cause of testing for, monitoring, cleaning               (b) the operation of any of the machinery or
            up, removing, containing, treating, de-                      equipment listed in Paragraph f.(2) or
            toxifying or neutralizing, or in any way                     f.(3) of the definition of "mobile equip-
            responding to, or assessing the effects                      ment".
            of, "pollutants".                                  h. Mobile Equipment
         However, this paragraph does not apply to                 "Bodily injury" or "property damage" arising out
         liability for damages because of "property                of:
         damage" that the insured would have in the
         absence of such request, demand, order or                (1) The transportation of "mobile equipment" by
         statutory or regulatory requirement, or such                 an "auto" owned or operated by or rented or
         claim or "suit" by or on behalf of a govern-                 loaned to any insured; or
         mental authority.                                        (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                    in practice for, or while being prepared for,
                                                                      any prearranged racing, speed, demolition,
      "Bodily injury" or "property damage" arising out                or stunting activity.
      of the ownership, maintenance, use or en-
      trustment to others of any aircraft, "auto" or wa-        i. War
      tercraft owned or operated by or rented or                   "Bodily injury" or "property damage", however
      loaned to any insured. Use includes operation                caused, arising, directly or indirectly, out of:
      and "loading or unloading".
                                                                  (1) War, including undeclared or civil war;
      This exclusion applies even if the claims
                                                                  (2) Warlike action by a military force, including
      against any insured allege negligence or other
                                                                      action in hindering or defending against an
      wrongdoing in the supervision, hiring, employ-
                                                                      actual or expected attack, by any govern-
      ment, training or monitoring of others by that
                                                                      ment, sovereign or other authority using
      insured, if the "occurrence" which caused the
                                                                      military personnel or other agents; or
      "bodily injury" or "property damage" involved
      the ownership, maintenance, use or entrust-                 (3) Insurrection, rebellion, revolution, usurped
      ment to others of any aircraft, "auto" or water-                power, or action taken by governmental au-
      craft that is owned or operated by or rented or                 thority in hindering or defending against any
      loaned to any insured.                                          of these.
      This exclusion does not apply to:                         j. Damage To Property
     (1) A watercraft while ashore on premises you                 "Property damage" to:
         own or rent;                                             (1) Property you own, rent, or occupy, including
     (2) A watercraft you do not own that is:                         any costs or expenses incurred by you, or
                                                                      any other person, organization or entity, for
        (a) Less than 26 feet long; and                               repair, replacement, enhancement, restora-
        (b) Not being used to carry persons or                        tion or maintenance of such property for
            property for a charge;                                    any reason, including prevention of injury to
     (3) Parking an "auto" on, or on the ways next                    a person or damage to another's property;
         to, premises you own or rent, provided the               (2) Premises you sell, give away or abandon, if
         "auto" is not owned by or rented or loaned                   the "property damage" arises out of any
         to you or the insured;                                       part of those premises;
     (4) Liability assumed under any "insured con-                (3) Property loaned to you;
         tract" for the ownership, maintenance or
                                                                  (4) Personal property in the care, custody or
         use of aircraft or watercraft; or
                                                                      control of the insured;




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    (5) That particular part of real property on                 This exclusion does not apply to the loss of use
        which you or any contractors or subcontrac-              of other property arising out of sudden and ac-
        tors working directly or indirectly on your              cidental physical injury to "your product" or
        behalf are performing operations, if the                 "your work" after it has been put to its intended
        "property damage" arises out of those op-                use.
        erations; or                                         n. Recall Of Products, Work Or Impaired
    (6) That particular part of any property that               Property
        must be restored, repaired or replaced be-               Damages claimed for any loss, cost or ex-
        cause "your work" was incorrectly per-                   pense incurred by you or others for the loss of
        formed on it                                             use, withdrawal, recall, inspection, repair, re-
    Paragraphs (1), (3) and (4) of this exclusion do             placement, adjustment, removal or disposal of:
    not apply to "property damage" (other than                  (1) "Your product";
    damage by fire) to premises, including the con-
    tents of such premises, rented to you for a pe-             (2) "Your work"; or
    riod of 7 or fewer consecutive days. A separate             (3) "Impaired property";
    limit of insurance applies to Damage To Prem-
                                                                 if such product, work, or property is withdrawn
    ises Rented To You as described in Section Ill
                                                                 or recalled from the market or from use by any
    - Limits Of Insurance.
                                                                 person or organization because of a known or
    Paragraph (2) of this exclusion does not apply               suspected defect, deficiency, inadequacy or
    if the premises are "your work" and were never               dangerous condition in it
    occupied, rented or held for rental by you.
                                                             o. Personal And Advertising Injury
    Paragraphs (3), (4), (5) and (6) of this exclu-
                                                                 "Bodily injury" arising out of "personal and ad-
    sion do not apply to liability assumed under a
                                                                 vertising injury".
    sidetrack agreement.
                                                             p. Electronic Data
    Paragraph (6) of this exclusion does not apply
    to "property damage" included in the "products-              Damages arising out of the loss of, loss of use
    completed operations hazard".                                of, damage to, corruption of, inability to access,
                                                                 or inability to manipulate electronic data.
  k. Damage To Your Product
                                                                 As used in this exclusion, electronic data
    "Property damage" to "your product" arising out
                                                                 means information, facts or programs stored as
    of it or any part of it
                                                                 or on, created or used on, or transmitted to or
  I. Damage To Your Work                                         from computer software, including systems and
    "Property damage" to "your work" arising out of              applications software, hard or floppy disks, CD-
    it or any part of it and included in the "products-          ROMS, tapes, drives, cells, data processing
    completed operations hazard".                                devices or any other media which are used
                                                                 with electronically controlled equipment.
    This exclusion does not apply if the damaged
    work or the work out of which the damage aris-           q. Distribution Of Material In Violation Of
    es was performed on your behalf by a subcon-                Statutes
    tractor.                                                     "Bodily injury" or "property damage" arising di-
 m. Damage To Impaired Property Or Property                      rectly or indirectly out of any action or omission
    Not Physically Injured                                       that violates or is alleged to violate:
    "Property damage" to "impaired property" or                 (1) The Telephone Consumer Protection Act
    property that has not been physically injured,                  (TCPA), including any amendment of or
    arising out of:                                                 addition to such law; or
    (1) A defect, deficiency, inadequacy or danger-             (2) The CAN-SPAM Act of 2003, including any
        ous condition in "your product" or "your                    amendment of or addition to such law; or
        work"; or                                               (3) Any statute, ordinance or regulation, other
    (2) A delay or failure by you or anyone acting                  than the TCPA or CAN-SPAM Act of 2003,
        on your behalf to perform a contract or                     that prohibits or limits the sending, transmit-
        agreement in accordance with its terms.                     ting, communicating or distribution of mate-
                                                                    rial or information.




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   Exclusions c. through n. do not apply to damage              c. Material Published Prior To Policy Period
   by fire to premises while rented to you or tempo-               "Personal and advertising injury" arising out of
   rarily occupied by you with permission of the                   oral or written publication of material whose
   owner. A separate limit of insurance applies to this            first publication took place before the beginning
   coverage as described in Section Ill - Limits Of                of the policy period.
   Insurance.
                                                               d. Criminal Acts
COVERAGE B PERSONAL AND ADVERTISING
INJURY LIABILITY                                                   "Personal and advertising injury" arising out of
                                                                   a criminal act committed by or at the direction
1. Insuring Agreement                                              of the insured.
   a. We will pay those sums that the insured be-               e. Contractual Liability
      comes legally obligated to pay as damages
      because of "personal and advertising injury" to              "Personal and advertising injury" for which the
      which this insurance applies. We will have the               insured has assumed liability in a contract or
      right and duty to defend the insured against                 agreement. This exclusion does not apply to li-
      any "suit" seeking those damages. However,                   ability for damages that the insured would have
      we will have no duty to defend the insured                   in the absence of the contract or agreement.
      against any "suit" seeking damages for "per-              f. Breach Of Contract
      sonal and advertising injury" to which this in-
                                                                   "Personal and advertising injury" arising out of
      surance does not apply. We may, at our discre-
                                                                   a breach of contract, except an implied con-
      tion, investigate any offense and settle any
                                                                   tract to use another's advertising idea in your
      claim or "suit" that may result. But:                        "advertisement".
     (1) The amount we will pay for damages is
                                                               g. Quality Or Performance Of Goods - Failure
         limited as described in Section Ill - Limits
                                                                  To Conform To Statements
         Of Insurance; and
                                                                   "Personal and advertising injury" arising out of
     (2) Our right and duty to defend end when we
                                                                   the failure of goods, products or services to
         have used up the applicable limit of insur-
                                                                   conform with any statement of quality or per-
         ance in the payment of judgments or set-                  formance made in your "advertisement".
         tlements under Coverages A or B or medi-
         cal expenses under Coverage C.                        h. Wrong Description Of Prices
      No other obligation or liability to pay sums or              "Personal and advertising injury" arising out of
      perform acts or services is covered unless ex-               the wrong description of the price of goods,
      plicitly provided for under Supplementary Pay-               products or services stated in your "advertise-
      ments - Coverages A and B.                                   ment".
   b. This insurance applies to "personal and adver-            i. Infringement Of Copyright, Patent,
      tising injury" caused by an offense arising out              Trademark Or Trade Secret
      of your business but only if the offense was                 "Personal and advertising injury" arising out of
      committed in the "coverage territory" during the             the infringement of copyright, patent, trade-
      policy period.                                               mark, trade secret or other intellectual property
2. Exclusions                                                      rights. Under this exclusion, such other intellec-
                                                                   tual property rights do not include the use of
   This insurance does not apply to:                               another's advertising idea in your "advertise-
   a. Knowing Violation Of Rights Of Another                       ment".
      "Personal and advertising injury" caused by or               However, this exclusion does not apply to in-
      at the direction of the insured with the knowl-              fringement, in your "advertisement", of copy-
      edge that the act would violate the rights of an-            right, trade dress or slogan.
      other and would inflict "personal and advertis-
                                                                j. Insureds In Media And Internet Type
      ing injury".                                                 Businesses
   b. Material Published With Knowledge Of
                                                                   "Personal and advertising injury" committed by
      Falsity
                                                                   an insured whose business is:
      "Personal and advertising injury" arising out of
                                                                  (1) Advertising,   broadcasting,    publishing   or
      oral or written publication of material, if done by
                                                                      telecasting;
      or at the direction of the insured with knowl-
      edge of its falsity.                                        (2) Designing or determining content of web-
                                                                      sites for others; or




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    (3) An Internet search,     access, content or              (3) Insurrection, rebellion, revolution, usurped
        service provider.                                           power, or action taken by governmental au-
    However, this exclusion does not apply to Pa-                   thority in hindering or defending against any
    ragraphs 14.a., b. and c. of "personal and ad-                  of these.
    vertising injury" under the Definitions Section.         p. Distribution Of Material In Violation Of
    For the purposes of this exclusion, the placing             Statutes
    of frames, borders or links, or advertising, for             "Personal and advertising injury" arising di-
    you or others anywhere on the Internet, is not               rectly or indirectly out of any action or omission
    by itself, considered the business of advertis-              that violates or is alleged to violate:
    ing, broadcasting, publishing or telecasting.               (1) The Telephone Consumer Protection Act
  k. Electronic Chatrooms Or Bulletin Boards                        (TCPA), including any amendment of or
     "Personal and advertising injury" arising out of               addition to such law; or
     an electronic chatroom or bulletin board the in-           (2) The CAN-SPAM Act of 2003, including any
     sured hosts, owns, or over which the insured                   amendment of or addition to such law; or
     exercises control.                                         (3) Any statute, ordinance or regulation, other
  I. Unauthorized Use Of Another's Name Or                          than the TCPA or CAN-SPAM Act of 2003,
     Product                                                        that prohibits or limits the sending, transmit-
    "Personal and advertising injury" arising out of                ting, communicating or distribution of mate-
    the unauthorized use of another's name or                       rial or information.
    product in your e-mail address, domain name           COVERAGE C MEDICAL PAYMENTS
    or metatag, or any other similar tactics to mis-      1. Insuring Agreement
    lead another's potential customers.
                                                              a. We will pay medical expenses as described
 m. Pollution                                                    below for "bodily injury" caused by an accident:
    "Personal and advertising injury" arising out of            (1) On premises you own or rent;
    the actual, alleged or threatened discharge,
    dispersal, seepage, migration, release or es-               (2) On ways next to premises you own or rent;
    cape of "pollutants" at any time.                               or
  n. Pollution-Related                                          (3) Because of your operations;
     Any loss, cost or expense arising out of any:               provided that:
    (1) Request, demand, order or statutory or                     (a) The accident takes place in the "cover-
        regulatory requirement that any insured or                     age territory" and during the policy pe-
        others test for, monitor, clean up, remove,                    riod;
        contain, treat, detoxify or neutralize, or in              (b) The expenses are incurred and reported
        any way respond to, or assess the effects                      to us within one year of the date of the
        of, "pollutants"; or                                           accident; and
    (2) Claim or suit by or on behalf of a govern-                 (c) The injured person submits to examina-
        mental authority for damages because of                        tion, at our expense, by physicians of
        testing for, monitoring, cleaning up, remov-                   our choice as often as we reasonably
        ing, containing, treating, detoxifying or neu-                 require.
        tralizing, or in any way responding to, or
                                                             b. We will make these payments regardless of
        assessing the effects of, "pollutants".
                                                                fault. These payments will not exceed the ap-
  o. War                                                        plicable limit of insurance. We will pay reason-
     "Personal and advertising injury", however                 able expenses for:
     caused, arising, directly or indirectly, out of:           (1) First aid administered at the time of an
    (1) War, including undeclared or civil war;                     accident;
    (2) Warlike action by a military force, including           (2) Necessary medical, surgical, x-ray and
        action in hindering or defending against an                 dental services, including prosthetic de-
        actual or expected attack, by any govern-                   vices; and
        ment, sovereign or other authority using                (3) Necessary ambulance, hospital, profes-
        military personnel or other agents; or                      sional nursing and funeral services.




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2. Exclusions                                                   f. Prejudgment interest awarded against the
   We will not pay expenses for "bodily injury":                   insured on that part of the judgment we pay. If
                                                                   we make an offer to pay the applicable limit of
   a. Any Insured                                                  insurance, we will not pay any prejudgment in-
      To any insured, except "volunteer workers".                  terest based on that period of time after the of-
                                                                   fer.
   b. Hired Person
                                                               g. All interest on the full amount of any judgment
      To a person hired to do work for or on behalf of
                                                                  that accrues after entry of the judgment and
      any insured or a tenant of any insured.
                                                                  before we have paid, offered to pay, or depos-
   c. Injury On Normally Occupied Premises                        ited in court the part of the judgment that is
      To a person injured on that part of premises                within the applicable limit of insurance.
      you own or rent that the person normally occu-           These payments will not reduce the limits of insur-
      pies.                                                    ance.
   d. Workers Compensation And Similar Laws                 2. If we defend an insured against a "suit" and an
      To a person, whether or not an "employee" of             indemnitee of the insured is also named as a party
      any insured, if benefits for the "bodily injury"         to the "suit", we will defend that indemnitee if all of
      are payable or must be provided under a work-            the following conditions are met:
      ers' compensation or disability benefits law or a         a. The "suit" against the indemnitee seeks dam-
      similar law.                                                 ages for which the insured has assumed the li-
   e. Athletics Activities                                         ability of the indemnitee in a contract or
                                                                   agreement that is an "insured contract";
      To a person injured while practicing, instructing
      or participating in any physical exercises or            b. This insurance applies to such liability as-
      games, sports, or athletic contests.                        sumed by the insured;
   f. Products-Completed Operations Hazard                      c. The obligation to defend, or the cost of the
                                                                   defense of, that indemnitee, has also been as-
      Included within the "products-completed opera-
                                                                   sumed by the insured in the same "insured
      tions hazard".
                                                                   contract";
   g. Coverage A Exclusions
                                                               d. The allegations in the "suit" and the information
      Excluded under Coverage A.                                  we know about the "occurrence" are such that
SUPPLEMENTARY PAYMENTS - COVERAGES A                              no conflict appears to exist between the inter-
ANDB                                                              ests of the insured and the interests of the in-
                                                                  demnitee;
1. We will pay, with respect to any claim we investi-
   gate or settle, or any "suit" against an insured we          e. The indemnitee and the insured ask us to
   defend:                                                         conduct and control the defense of that indem-
                                                                   nitee against such "suit" and agree that we can
   a. All expenses we incur.                                       assign the same counsel to defend the insured
   b. Up to $250 for cost of bail bonds required                   and the indemnitee; and
      because of accidents or traffic law violations            f. The indemnitee:
      arising out of the use of any vehicle to which
      the Bodily Injury Liability Coverage applies. We            (1) Agrees in writing to
      do not have to furnish these bonds.                            (a) Cooperate with us in the investigation,
   c. The cost of bonds to release attachments, but                      settlement or defense of the "suit";
      only for bond amounts within the applicable                    (b) Immediately send us copies of any
      limit of insurance. We do not have to furnish                      demands, notices, summonses or legal
      these bonds.                                                       papers received in connection with the
   d. All reasonable expenses incurred by the in-                        "suit";
      sured at our request to assist us in the investi-              (c) Notify any other insurer whose coverage
      gation or defense of the claim or "suit", includ-                  is available to the indemnitee; and
      ing actual loss of earnings up to $250 a day
                                                                     (d) Cooperate with us with respect to coor-
      because of time off from work.
                                                                         dinating other applicable insurance
   e. All court costs taxed against the insured in the                   available to the indemnitee; and
      "suit". However, these payments do not include
                                                                  (2) Provides us with written authorization to:
      attorneys' fees or attorneys' expenses taxed
      against the insured.                                           (a) Obtain records and other information
                                                                         related to the "suit"; and




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         (b) Conduct and control the defense of the        2. Each of the following is also an insured:
             indemnitee in such "suit".                        a. Your "volunteer workers" only while performing
   So long as the above conditions are met, attor-                duties related to the conduct of your business,
   neys' fees incurred by us in the defense of that in-           or your "employees", other than either your
   demnitee, necessary litigation expenses incurred               "executive officers" (if you are an organization
   by us and necessary litigation expenses incurred               other than a partnership, joint venture or limited
   by the indemnitee at our request will be paid as               liability company) or your managers (if you are
   Supplementary Payments. Notwithstanding the                    a limited liability company), but only for acts
   provisions of Paragraph 2.b.(2) of Section I -                 within the scope of their employment by you or
   Coverage A - Bodily Injury And Property Damage                 while performing duties related to the conduct
   Liability, such payments will not be deemed to be              of your business. However, none of these "em-
   damages for "bodily injury" and "property damage"              ployees" or "volunteer workers" are insureds
   and will not reduce the limits of insurance.                   for:
   Our obligation to defend an insured's indemnitee              (1) "Bodily injury" or "personal and advertising
   and to pay for attorneys' fees and necessary litiga-              injury"
   tion expenses as Supplementary Payments ends                      (a) To you, to your partners or members (if
   when we have used up the applicable limit of in-                      you are a partnership or joint venture),
   surance in the payment of judgments or settle-                        to your members (if you are a limited li-
   ments or the conditions set forth above, or the                       ability company), to a co-"employee"
   terms of the agreement described in Paragraph f.                      while in the course of his or her em-
   above, are no longer met.                                             ployment or performing duties related to
SECTION II - WHO 15 AN INSURED                                           the conduct of your business, or to your
1. If you are designated in the Declarations as:                         other "volunteer workers" while perform-
                                                                         ing duties related to the conduct of your
   a. An individual, you and your spouse are insur-                      business;
      eds, but only with respect to the conduct of a
      business of which you are the sole owner.                      (b) To the spouse, child, parent, brother or
                                                                         sister of that co-"employee" or "volun-
   b. A partnership or joint venture, you are an in-                     teer worker" as a consequence of Para-
      sured. Your members, your partners, and their                      graph (1)(a) above;
      spouses are also insureds, but only with re-
      spect to the conduct of your business.                         (c) For which there is any obligation to
                                                                         share damages with or repay someone
   c. A limited liability company, you are an insured.                   else who must pay damages because of
      Your members are also insureds, but only with                      the injury described in Paragraphs (1)(a)
      respect to the conduct of your business. Your                      or (b) above; or
      managers are insureds, but only with respect
      to their duties as your managers.                              (d) Arising out of his or her providing or
                                                                         failing to provide professional health
   d. An organization other than a partnership, joint                    care services.
      venture or limited liability company, you are an
      insured. Your "executive officers" and directors           (2) "Property damage" to property
      are insureds, but only with respect to their du-               (a) Owned, occupied or used by,
      ties as your officers or directors. Your stock-                (b) Rented to, in the care, custody or con-
      holders are also insureds, but only with respect                   trol of, or over which physical control is
      to their liability as stockholders.                                being exercised for any purpose by
   e. A trust, you are an insured. Your trustees are                 you, any of your "employees", "volunteer
      also insureds, but only with respect to their du-              workers", any partner or member (if you are
      ties as trustees.                                              a partnership or joint venture), or any mem-
                                                                     ber (if you are a limited liability company).




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   b. Any person (other than your "employee" or              3. The Products-Completed Operations Aggregate
      "volunteer worker"), or any organization while            Limit is the most we will pay under Coverage A for
      acting as your real estate manager.                       damages because of "bodily injury" and "property
   c. Any person or organization having proper                  damage" included in the "products-completed op-
      temporary custody of your property if you die,            erations hazard".
      but only:                                              4. Subject to Paragraph 2. above, the Personal and
      (1) With respect to liability arising out of the          Advertising Injury Limit is the most we will pay un-
          maintenance or use of that property; and              der Coverage B for the sum of all damages be-
                                                                cause of all "personal and advertising injury" sus-
      (2) Until your legal representative has been              tained by any one person or organization.
          appointed.
                                                             5. Subject to Paragraph 2. or 3. above, whichever
   d. Your legal representative if you die, but only            applies, the Each Occurrence Limit is the most we
      with respect to duties as such. That represen-            will pay for the sum of:
      tative will have all your rights and duties under
      this Coverage Part.                                        a. Damages under Coverage A; and

3. Any organization you newly acquire or form, other            b. Medical expenses under Coverage C
   than a partnership, joint venture or limited liability       because of all "bodily injury" and "property dam-
   company, and over which you maintain ownership               age" arising out of any one "occurrence".
   or majority interest, will qualify as a Named In-         6. Subject to Paragraph 5. above, the Damage To
   sured if there is no other similar insurance avail-          Premises Rented To You Limit is the most we will
   able to that organization. However:                          pay under Coverage A for damages because of
   a. Coverage under this provision is afforded only            "property damage" to any one premises, while
      until the 9Dth day after you acquire or form the          rented to you, or in the case of damage by fire,
      organization or the end of the policy period,             while rented to you or temporarily occupied by you
      whichever is earlier;                                     with permission of the owner.
   b. Coverage A does not apply to "bodily injury" or        7. Subject to Paragraph 5. above, the Medical Ex-
      "property damage" that occurred before you                pense Limit is the most we will pay under Cover-
      acquired or formed the organization; and                  age C for all medical expenses because of "bodily
   c. Coverage B does not apply to "personal and                injury" sustained by any one person.
      advertising injury" arising out of an offense          The Limits of Insurance of this Coverage Part apply
      committed before you acquired or formed the            separately to each consecutive annual period and to
      organization.                                          any remaining period of less than 12 months, starting
No person or organization is an insured with respect         with the beginning of the policy period shown in the
to the conduct of any current or past partnership, joint     Declarations, unless the policy period is extended
venture or limited liability company that is not shown       after issuance for an additional period of less than 12
as a Named Insured in the Declarations.                      months. In that case, the additional period will be
                                                             deemed part of the last preceding period for purposes
SECTION Ill - LIMITS OF INSURANCE                            of determining the Limits of Insurance.
1. The Limits of Insurance shown in the Declarations         SECTION IV - COMMERCIAL GENERAL LIABILITY
   and the rules below fix the most we will pay re-          CONDITIONS
   gardless of the number of:
                                                             1. Bankruptcy
   a. Insureds;
                                                                Bankruptcy or insolvency of the insured or of the
   b. Claims made or "suits" brought; or                        insured's estate will not relieve us of our obliga-
   c. Persons or organizations making claims or                 tions under this Coverage Part
      bringing "suits".                                      2. Duties In The Event Of Occurrence, Offense,
2. The General Aggregate Limit is the most we will              Claim Or Suit
   pay for the sum of:                                           a. You must see to it that we are notified as soon
   a. Medical expenses under Coverage C;                            as practicable of an "occurrence" or an offense
                                                                    which may result in a claim. To the extent pos-
   b. Damages under Coverage A, except damages
                                                                    sible, notice should include:
      because of "bodily injury" or "property damage"
      included in the "products-completed operations               (1) How, when and where the "occurrence" or
      hazard"; and                                                     offense took place;
   c. Damages under Coverage B.                                    (2) The names and addresses of any injured
                                                                       persons and witnesses; and




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     (3) The nature and location of any injury or            4. Other Insurance
         damage arising out of the "occurrence" or              If other valid and collectible insurance is available
         offense.                                               to the insured for a loss we cover under Cover-
  b. If a claim is made or "suit" is brought against            ages A or B of this Coverage Part, our obligations
     any insured, you must:                                     are limited as follows:
     (1) Immediately record the specifics of the                 a. Primary Insurance
         claim or "suit" and the date received; and                 This insurance is primary except when Para-
     (2) Notify us as soon as practicable.                          graph b. below applies. If this insurance is pri-
     You must see to it that we receive written no-                 mary, our obligations are not affected unless
     tice of the claim or "suit" as soon as practica-               any of the other insurance is also primary.
     ble.                                                           Then, we will share with all that other insur-
                                                                    ance by the method described in Paragraph c.
  c. You and any other involved insured must:                       below.
     (1) Immediately send us copies of any de-                  b. Excess Insurance
         mands, notices, summonses or legal pa-
         pers received in connection with the claim                (1) This insurance is excess over:
         or "suit";                                                   (a) Any of the other insurance, whether
     (2) Authorize us to obtain records and other                         primary, excess, contingent or on any
         information;                                                     other basis:
     (3) Cooperate with us in the investigation or                           (i) That is Fire, Extended Coverage,
         settlement of the claim or defense against                              Builder's Risk, Installation Risk or
         the "suit"; and                                                         similar coverage for "your work";

     (4) Assist us, upon our request, in the en-                            (ii) That is Fire insurance for premises
         forcement of any right against any person                               rented to you or temporarily occu-
         or organization which may be liable to the                              pied by you with permission of the
         insured because of injury or damage to                                  owner;
         which this insurance may also apply.                               (iii) That is insurance purchased by you
  d. No insured will, except at that insured's own                                to cover your liability as a tenant for
     cost, voluntarily make a payment, assume any                                 "property damage" to premises
     obligation, or incur any expense, other than for                             rented to you or temporarily occu-
     first aid, without our consent.                                              pied by you with permission of the
                                                                                  owner; or
3. Legal Action Against Us
                                                                            (iv) If the loss arises out of the mainte-
  No person or organization has a right under this                               nance or use of aircraft, "autos" or
  Coverage Part:                                                                 watercraft to the extent not subject to
  a. To join us as a party or otherwise bring us into                            Exclusion g. of Section I - Coverage
     a "suit" asking for damages from an insured; or                             A - Bodily Injury And Property Dam-
                                                                                 age Liability.
  b. To sue us on this Coverage Part unless all of
     its terms have been fully complied with.                         (b) Any other primary insurance available to
                                                                          you covering liability for damages aris-
  A person or organization may sue us to recover on
                                                                          ing out of the premises or operations, or
  an agreed settlement or on a final judgment
                                                                          the products and completed operations,
  against an insured; but we will not be liable for
                                                                          for which you have been added as an
  damages that are not payable under the terms of
                                                                          additional insured by attachment of an
  this Coverage Part or that are in excess of the ap-
                                                                          endorsement.
  plicable limit of insurance. An agreed settlement
  means a settlement and release of liability signed               (2) When this insurance is excess, we will have
  by us, the insured and the claimant or the claim-                    no duty under Coverages A or B to defend
  ant's legal representative.                                          the insured against any "suit" if any other
                                                                       insurer has a duty to defend the insured
                                                                       against that "suit". If no other insurer de-
                                                                       fends, we will undertake to do so, but we
                                                                       will be entitled to the insured's rights
                                                                       against all those other insurers.




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     (3) When this insurance is excess over other               c. We have issued this policy in reliance upon
         insurance, we will pay only our share of the              your representations.
         amount of the loss, if any, that exceeds the       7. Separation Of Insureds
         sum of:
                                                               Except with respect to the Limits of Insurance, and
         (a) The total amount that all such other              any rights or duties specifically assigned in this
             insurance would pay for the loss in the           Coverage Part to the first Named Insured, this in-
             absence of this insurance; and                    surance applies:
         (b) The total of all deductible and self-              a. As if each Named Insured were the only
             insured amounts under all that other in-              Named Insured; and
             surance.
                                                               b. Separately to each insured against whom claim
     (4) We will share the remaining loss, if any,                is made or "suit" is brought
         with any other insurance that is not de-
         scribed in this Excess Insurance provision         8. Transfer Of Rights Of Recovery Against Others
         and was not bought specifically to apply in           To Us
         excess of the Limits of Insurance shown in            If the insured has rights to recover all or part of
         the Declarations of this Coverage Part                any payment we have made under this Coverage
   c. Method Of Sharing                                        Part, those rights are transferred to us. The in-
                                                               sured must do nothing after loss to impair them. At
      If all of the other insurance permits contribution       our request, the insured will bring "suit" or transfer
      by equal shares, we will follow this method al-          those rights to us and help us enforce them.
      so. Under this approach each insurer contrib-
      utes equal amounts until it has paid its applica-     9. When We Do Not Renew
      ble limit of insurance or none of the loss               If we decide not to renew this Coverage Part, we
      remains, whichever comes first                           will mail or deliver to the first Named Insured
      If any of the other insurance does not permit            shown in the Declarations written notice of the
      contribution by equal shares, we will contribute         nonrenewal not less than 30 days before the expi-
      by limits. Under this method, each insurer's             ration date.
      share is based on the ratio of its applicable lim-       If notice is mailed, proof of mailing will be sufficient
      it of insurance to the total applicable limits of        proof of notice.
      insurance of all insurers.                            SECTION V - DEFINITIONS
5. Premium Audit                                            1. "Advertisement" means a notice that is broadcast
   a. We will compute all premiums for this Cover-             or published to the general public or specific mar-
      age Part in accordance with our rules and                ket segments about your goods, products or ser-
      rates.                                                   vices for the purpose of attracting customers or
   b. Premium shown in this Coverage Part as ad-               supporters. For the purposes of this definition:
      vance premium is a deposit premium only. At               a. Notices that are published include material
      the close of each audit period we will compute               placed on the Internet or on similar electronic
      the earned premium for that period and send                  means of communication; and
      notice to the first Named Insured. The due date
                                                               b. Regarding web-sites, only that part of a web-
      for audit and retrospective premiums is the
                                                                  site that is about your goods, products or ser-
      date shown as the due date on the bill. If the
                                                                  vices for the purposes of attracting customers
      sum of the advance and audit premiums paid                  or supporters is considered an advertisement.
      for the policy period is greater than the earned
      premium, we will return the excess to the first       2. "Auto" means:
      Named Insured.                                            a. A land motor vehicle, trailer or semitrailer de-
   c. The first Named Insured must keep records of                 signed for travel on public roads, including any
      the information we need for premium computa-                 attached machinery or equipment; or
      tion, and send us copies at such times as we             b. Any other land vehicle that is subject to a com-
      may request                                                 pulsory or financial responsibility law or other
6. Representations                                                motor vehicle insurance law in the state where
                                                                  it is licensed or principally garaged.
   By accepting this policy, you agree:
                                                               However, "auto" does not include "mobile equip-
   a. The statements in the Declarations are accu-             ment".
      rate and complete;
   b. Those statements are based upon representa-
      tions you made to us; and




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3. "Bodily injury" means bodily injury, sickness or         9. "Insured contract" means:
   disease sustained by a person, including death re-           a. A contract for a lease of premises. However,
   sulting from any of these at any time.                          that portion of the contract for a lease of prem-
4. "Coverage territory" means:                                     ises that indemnifies any person or organiza-
   a. The United States of America (including its                  tion for damage by fire to premises while
      territories and possessions), Puerto Rico and                rented to you or temporarily occupied by you
      Canada;                                                      with permission of the owner is not an "insured
                                                                   contract";
   b. International waters or airspace, but only if the
      injury or damage occurs in the course of travel          b. A sidetrack agreement;
      or transportation between any places included             c. Any easement or license agreement, except in
      in Paragraph a. above; or                                    connection with construction or demolition op-
   c. All other parts of the world if the injury or dam-           erations on or within 50 feet of a railroad;
      age arises out of:                                       d. An obligation, as required by ordinance, to
     (1) Goods or products made or sold by you in                 indemnify a municipality, except in connection
         the territory described in Paragraph a.                  with work for a municipality;
         above;                                                 e. An elevator maintenance agreement;
     (2) The activities of a person whose home is in            f. That part of any other contract or agreement
         the territory described in Paragraph a.                   pertaining to your business (including an in-
         above, but is away for a short time on your               demnification of a municipality in connection
          business; or                                             with work performed for a municipality) under
     (3) "Personal and advertising injury" offenses                which you assume the tort liability of another
         that take place through the Internet or simi-             party to pay for "bodily injury" or "property
         lar electronic means of communication                     damage" to a third person or organization. Tort
                                                                   liability means a liability that would be imposed
   provided the insured's responsibility to pay dam-               by law in the absence of any contract or
   ages is determined in a "suit" on the merits, in the            agreement.
   territory described in Paragraph a. above or in a
   settlement we agree to.                                         Paragraph f. does not include that part of any
                                                                   contract or agreement:
5. "Employee" includes a "leased worker". "Em-
   ployee" does not include a "temporary worker".                 (1) That indemnifies a railroad for "bodily injury"
                                                                      or "property damage" arising out of con-
6. "Executive officer" means a person holding any of                  struction or demolition operations, within 50
   the officer positions created by your charter, con-                feet of any railroad property and affecting
   stitution, by-laws or any other similar governing                  any railroad bridge or trestle, tracks, road-
   document.                                                          beds, tunnel, underpass or crossing;
7. "Hostile fire" means one which becomes uncon-                  (2) That indemnifies an architect, engineer or
   trollable or breaks out from where it was intended                 surveyor for injury or damage arising out of:
   to be.
                                                                      (a) Preparing, approving, or failing to pre-
8. "Impaired property" means tangible property, other                     pare or approve, maps, shop drawings,
   than "your product" or "your work", that cannot be                     opinions, reports, surveys, field orders,
   used or is less useful because:                                        change orders or drawings and specifi-
   a. It incorporates "your product" or "your work"                       cations; or
      that is known or thought to be defective, defi-                (b) Giving directions or instructions, or
      cient, inadequate or dangerous; or                                 failing to give them, if that is the primary
   b. You have failed to fulfill the terms of a contract                 cause of the injury or damage; or
      or agreement;                                               (3) Under which the insured, if an architect,
   if such property can be restored to use by the re-                 engineer or surveyor, assumes liability for
   pair, replacement, adjustment or removal of "your                  an injury or damage arising out of the in-
   product" or "your work" or your fulfilling the terms               sured's rendering or failure to render pro-
   of the contract or agreement.                                      fessional services, including those listed in
                                                                      (2) above and supervisory, inspection, ar-
                                                                      chitectural or engineering activities.




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10. "Leased worker" means a person leased to you by                 However, self-propelled vehicles with the fol-
    a labor leasing firm under an agreement between                 lowing types of permanently attached equip-
    you and the labor leasing firm, to perform duties               ment are not "mobile equipment" but will be
    related to the conduct of your business. "Leased                considered "autos":
    worker" does not include a "temporary worker".                 (1) Equipment designed primarily for
11."Loading or unloading" means the handling of                       (a) Snow removal;
   property:
                                                                      (b) Road maintenance, but not construction
   a. After it is moved from the place where it is                        or resurfacing; or
      accepted for movement into or onto an aircraft,
      watercraft or "auto";                                           (c) Street cleaning;
   b. While it is in or on an aircraft, watercraft or              (2) Cherry pickers and similar devices mounted
      "auto"; or                                                       on automobile or truck chassis and used to
                                                                       raise or lower workers; and
   c. While it is being moved from an aircraft, water-
      craft or "auto" to the place where it is finally de-         (3) Air compressors, pumps and generators,
      livered;                                                         including spraying, welding, building clean-
                                                                       ing, geophysical exploration, lighting and
   but "loading or unloading" does not include the                     well servicing equipment.
   movement of property by means of a mechanical
   device, other than a hand truck, that is not at-             However, "mobile equipment" does not include
   tached to the aircraft, watercraft or "auto".                any land vehicles that are subject to a compulsory
                                                                or financial responsibility law or other motor vehi-
12. "Mobile equipment" means any of the following               cle insurance law in the state where it is licensed
    types of land vehicles, including any attached ma-          or principally garaged. Land vehicles subject to a
    chinery or equipment:                                       compulsory or financial responsibility law or other
   a. Bulldozers, farm machinery, forklifts and other           motor vehicle insurance law are considered "au-
      vehicles designed for use principally off public          tos".
      roads;                                                 13. "Occurrence" means an accident, including con-
   b. Vehicles maintained for use solely on or next to           tinuous or repeated exposure to substantially the
      premises you own or rent;                                  same general harmful conditions.
   c. Vehicles that travel on crawler treads;                14."Personal and advertising injury" means injury,
   d. Vehicles, whether self-propelled or not, main-            including consequential "bodily injury", arising out
      tained primarily to provide mobility to perma-            of one or more of the following offenses:
      nently mounted:                                            a. False arrest, detention or imprisonment;
     (1) Power cranes, shovels, loaders, diggers or             b. Malicious prosecution;
         drills; or                                              c. The wrongful eviction from, wrongful entry into,
     (2) Road construction or resurfacing equipment                 or invasion of the right of private occupancy of
         such as graders, scrapers or rollers;                      a room, dwelling or premises that a person oc-
   e. Vehicles not described in Paragraph a., b., c.                cupies, committed by or on behalf of its owner,
      or d. above that are not self-propelled and are               landlord or lessor;
      maintained primarily to provide mobility to per-          d. Oral or written publication, in any manner, of
      manently attached equipment of the following                 material that slanders or libels a person or or-
      types:                                                       ganization or disparages a person's or organi-
     (1) Air compressors, pumps and generators,                    zation's goods, products or services;
         including spraying, welding, building clean-            e. Oral or written publication, in any manner, of
         ing, geophysical exploration, lighting and                 material that violates a person's right of pri-
         well servicing equipment; or                               vacy;
     (2) Cherry pickers and similar devices used to              f. The use of another's advertising idea in your
         raise or lower workers;                                    "advertisement"; or
   f. Vehicles not described in Paragraph a., b., c.            g. Infringing upon another's copyright, trade dress
      or d. above maintained primarily for purposes                or slogan in your "advertisement".
      other than the transportation of persons or car-
      go.




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15. "Pollutants" mean any solid, liquid, gaseous or            b. Loss of use of tangible property that is not
    thermal irritant or contaminant, including smoke,             physically injured. All such loss of use shall be
    vapor, soot, fumes, acids, alkalis, chemicals and             deemed to occur at the time of the "occur-
    waste. Waste includes materials to be recycled,               rence" that caused it.
    reconditioned or reclaimed.                                For the purposes of this insurance, electronic data
16. "Products-completed operations hazard":                    is not tangible property.
   a. Includes all "bodily injury" and "property dam-          As used in this definition, electronic data means
      age" occurring away from premises you own or             information, facts or programs stored as or on,
      rent and arising out of "your product" or "your          created or used on, or transmitted to or from com-
      work" except:                                            puter software, including systems and applications
     (1) Products that are still in your physical pos-         software, hard or floppy disks, CD-ROMS, tapes,
         session; or                                           drives, cells, data processing devices or any other
                                                               media which are used with electronically controlled
     (2) Work that has not yet been completed or               equipment.
         abandoned. However, "your work" will be
         deemed completed at the earliest of the fol-       18. "Suit" means a civil proceeding in which damages
         lowing times:                                          because of "bodily injury", "property damage" or
                                                                "personal and advertising injury" to which this in-
         (a) When all of the work called for in your            surance applies are alleged. "Suit" includes:
             contract has been completed.
                                                                a. An arbitration proceeding in which such dam-
         (b) When all of the work to be done at the                ages are claimed and to which the insured
             job site has been completed if your con-              must submit or does submit with our consent;
             tract calls for work at more than one job             or
             site.
                                                               b. Any other alternative dispute resolution pro-
         (c) When that part of the work done at a job             ceeding in which such damages are claimed
             site has been put to its intended use by             and to which the insured submits with our con-
             any person or organization other than                sent.
             another contractor or subcontractor
             working on the same project.                   19."Temporary worker" means a person who is fur-
                                                               nished to you to substitute for a permanent "em-
         Work that may need service, maintenance,              ployee" on leave or to meet seasonal or short-term
         correction, repair or replacement, but which          workload conditions.
         is otherwise complete, will be treated as
         completed.                                         20. "Volunteer worker" means a person who is not
                                                                your "employee", and who donates his or her work
   b. Does not include "bodily injury" or "property             and acts at the direction of and within the scope of
      damage" arising out of:                                   duties determined by you, and is not paid a fee,
     (1) The transportation of property, unless the             salary or other compensation by you or anyone
         injury or damage arises out of a condition in          else for their work performed for you.
         or on a vehicle not owned or operated by           21. "Your product":
         you, and that condition was created by the
         "loading or unloading" of that vehicle by any          a. Means:
         insured;                                                 (1) Any goods or products, other than real
     (2) The existence of tools, uninstalled equip-                   property, manufactured, sold, handled, dis-
         ment or abandoned or unused materials; or                    tributed or disposed of by:

     (3) Products or operations for which the classi-                (a) You;
         fication, listed in the Declarations or in a                (b) others trading under your name; or
         policy schedule, states that products-                      (c) A person or organization whose busi-
         completed operations are subject to the                         ness or assets you have acquired; and
         General Aggregate Limit.
                                                                  (2) Containers (other than vehicles), materials,
17. "Property damage" means:                                          parts or equipment furnished in connection
   a. Physical injury to tangible property, including                 with such goods or products.
      all resulting loss of use of that property. All          b. Includes:
      such loss of use shall be deemed to occur at
      the time of the physical injury that caused it; or          (1) Warranties or representations made at any
                                                                      time with respect to the fitness, quality, du-
                                                                      rability, performance or use of "your prod-
                                                                      uct"; and




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      (2) The providing of or failure to provide warn-
          ings or instructions.
   c. Does not include vending machines or other
      property rented to or located for the use of oth-
      ers but not sold.
22. "Your work":
   a. Means:
      (1) Work or operations performed by you or on
          your behalf; and
      (2) Materials, parts or equipment furnished in
          connection with such work or operations.
   b. Includes:
      (1) Warranties or representations rnade at any
          tirne with respect to the fitness, quality, du-
          rability, performance or use of "your work",
          and
      (2) The providing of or failure to provide warn-
          ings or instructions.




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                             COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                       b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                      and
       tions may cancel this policy by mailing or deliv-              c. Recommend changes.
       ering to us advance written notice of cancella-            2. We are not obligated to make any inspections,
       tion.                                                          surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliver-                such actions we do undertake relate only to in-
       ing to the first Named Insured written notice of               surability and the premiums to be charged. We
       cancellation at least:                                         do not make safety inspections. We do not un-
       a. 10 days before the effective date of cancel-                dertake to perform the duty of any person or
             lation if we cancel for nonpayment of premi-             organization to provide for the health or safety
             um; or                                                   of workers or the public. And we do not warrant
                                                                      that conditions:
       b. 30 days before the effective date of cancel-
             lation if we cancel for any other reason.                a. Are safe or healthful; or

   3. We will mail or deliver our notice to the first                 b. Comply with laws, regulations, codes or
       Named lnsured's last mailing address known to                     standards.
       US.                                                        3. Paragraphs 1. and 2. of this condition apply not
   4. Notice of cancellation will state the effective                 only to us, but also to any rating, advisory, rate
       date of cancellation. The policy period will end               service or similar organization which makes in-
       on that date.                                                  surance inspections, surveys, reports or rec-
                                                                      ommendations.
   5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we                4. Paragraph 2. of this condition does not apply to
       cancel, the refund will be pro rata. If the first              any inspections, surveys, reports or recom-
       Named Insured cancels, the refund may be                       mendations we may make relative to certifica-
       less than pro rata. The cancellation will be ef-               tion, under state or municipal statutes, ordi-
       fective even if we have not made or offered a                  nances or regulations, of boilers, pressure ves-
       refund.                                                        sels or elevators.
   6. If notice is mailed, proof of mailing will be suffi-     E. Premiums
       cient proof of notice.                                     The first Named Insured shown in the Declara-
B. Changes                                                        tions:
   This policy contains all the agreements between                1. Is responsible for the payment of all premiums;
   you and us concerning the insurance afforded.                      and
   The first Named Insured shown in the Declarations              2. Will be the payee for any return premiums we
   is authorized to make changes in the terms of this                 pay.
   policy with our consent This policy's terms can be          F. Transfer Of Your Rights And Duties Under This
   amended or waived only by endorsement issued                   Policy
   by us and made a part of this policy.
                                                                  Your rights and duties under this policy may not be
C. Examination Of Your Books And Records                          transferred without our written consent except in
   We may examine and audit your books and rec-                   the case of death of an individual named insured.
   ords as they relate to this policy at any time during          If you die, your rights and duties will be transferred
   the policy period and up to three years afterward.             to your legal representative but only while acting
D. Inspections And Surveys                                        within the scope of duties as your legal representa-
   1. We have the right to:                                       tive. Until your legal representative is appointed,
                                                                  anyone having proper temporary custody of your
       a. Make inspections and surveys at any time;               property will have your rights and duties but only
                                                                  with respect to that property.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                CONTRACTORS PAC
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. SECTION II - WHO IS AN INSURED is amended to include as an additional insured all persons or
   organizations as required by written contract with the named insured, but only with respect to:
   1. Liability for "bodily injury" or "property damage" caused, in whole or in part, by "your work"
      performed for that additional insured at the location(s) as designated in a written contract and
      included in the "products-completed operations hazard".
   2. Liability for "bodily injury", "property damage" or "personal and advertising injury" caused, in whole
      or in part, by:
      a. Your acts or omissions; or
      b. The acts or omissions of those acting on your behalf;
      in the performance of your ongoing operations for the additional insured(s) at the location(s) as
      designated in a written contract.
B. SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS, Paragraph 4. Other Insurance
   is amended and the following added:
   If you are required by written contract to provide primary insurance, the insurance afforded by this
   Coverage Part for all persons or organizations included as additional insureds as required by written
   contract is primary insurance, and we will not seek contribution from any other insurance available to
   that additional insured.
C. SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS, Paragraph 8. Transfer Of
   Rights Of Recovery Against Others To Us is amended and the following added:
   We waive any rights of recovery we may have against any person or organization because of
   payments we make for injury or damage resulting from your ongoing operations or "your work" done
   under a contract with that person or organization and included in the "products-completed operations
   hazard" if:
   1. You agreed to such waiver;
   2. The waiver is included as part of a written contract or lease; and
   3. Such written contract or lease was executed prior to any loss to which this insurance applies.
D. For all sums which the insured becomes legally obligated to pay as damages caused by
   "occurrences" under SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND
   PROPERTY DAMAGE LIABILITY, and for all medical expenses caused by accidents under
   SECTION 1- COVERAGES, COVERAGE C MEDICAL PAYMENTS, which can be attributed only to
   ongoing operations at any construction project involving the named insured during this policy period:
   1. A separate Construction Project General Aggregate Limit applies to each construction project,
      and that limit is equal to the amount of the General Aggregate Limit shown in the Declarations.
   2. The Construction Project General Aggregate Limit is the most we will pay for the sum of all
      damages under SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND
      PROPERTY DAMAGE LIABILITY, except damages because of "bodily injury" or "property
      damage" included in the "products-completed operations hazard", and for medical expenses
      under SECTION I - COVERAGES, COVERAGE C MEDICAL PAYMENTS regardless of the
      number of:


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       a. Insureds;
       b. Claims made or "suits" brought; or
       c. Persons or organizations making claims or bringing "suits".
   3. Any payments made under SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND
      PROPERTY DAMAGE LIABILITY for damages or under SECTION I - COVERAGES,
      COVERAGE C MEDICAL PAYMENTS for medical expenses shall reduce the Construction
      Project General Aggregate Limit for that construction project. Such payments shall not reduce the
      General Aggregate Limit shown in the Declarations nor shall they reduce any other Construction
      Project General Aggregate Limit for any other construction project involving the named insured
      during this policy period.
   4. The limits shown in the Declarations for Each Occurrence, Damage to Premises Rented to You
      and Medical Expense continue to apply. However, instead of being subject to the General
      Aggregate Limit shown in the Declarations, such limits will be subject to the applicable
      Construction Project General Aggregate Limit.
   5. The most we will pay for the sum of all Construction Project General Aggregate Limits combined
       and to which this insurance applies is $5,000,000.
E. For all sums which the insured becomes legally obligated to pay as damages caused by
   "occurrences" under SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND
   PROPERTY DAMAGE LIABILITY, and for all medical expenses caused by accidents under
   SECTION 1- COVERAGES, COVERAGE C MEDICAL PAYMENTS, which cannot be attributed only
   to ongoing operations at any construction project involving the named insured during this policy
   period:
   1. Any payments made under SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND
      PROPERTY DAMAGE LIABILITY for damages or under SECTION I - COVERAGES,
      COVERAGE C MEDICAL PAYMENTS for medical expenses shall reduce the amount available
      under the General Aggregate Limit or the Products-Completed Operations Aggregate Limit,
      whichever is applicable; and
   2. Such payments shall not reduce any Construction Project General Aggregate Limit.
F. When coverage for liability resulting from the "products-completed operations hazard" is provided,
   any payments for damages because of "bodily injury" or "property damage" included in the "products-
   completed operations hazard" will reduce the Products-Completed Operations Aggregate Limit, and
   not reduce the General Aggregate Limit nor the Construction Project General Aggregate Limit.
G. If the applicable construction project has been abandoned, delayed, or abandoned and then
   restarted, or if the authorized contracting parties deviate from plans, blueprints, designs,
   specifications or timetables, the project will still be deemed to be the same construction project.
H. The provisions of SECTION Ill - LIMITS OF INSURANCE not otherwise modified by this
   endorsement shall continue to apply as stipulated.

          ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                      IDENTITY RECOVERY COVERAGE
     IDENTITY THEFT CASE MANAGEMENT SERVICE AND EXPENSE REIMBURSEMENT

This endorsement modifies insurance provided under the following:
COMMERCIAL PROPERTY COVERAGE PART
COMMERCIAL GENERAL LIABILITY COVERAGE PART

The following Identity Recovery Coverage is added to this Policy. Identity Recovery Coverage is a first
party coverage provided to the owners of the insured entity. Identity Recovery Coverage includes reim-
bursement of specified legal expenses, but such coverage is subject to the Identity Recovery coverage limit
as specified under LIMITS below. Under Identity Recovery Coverage, we do not have a duty to defend the
insured from claims or suits. The limit and deductible applicable to Identity Recovery Coverage are sepa-
rate from and in addition to the limits and deductibles that apply to any other coverage provided under this
Policy. The Common Policy Conditions apply to coverage under this Identity Recovery Coverage.
IDENTITY RECOVERY COVERAGE
We will provide the Case Management Service and Expense Reimbursement Coverage indicated below if
all of the following requirements are met:
1. There has been an "identity theft" involving the personal identity of an "identity recovery insured" under
   this policy; and
2. Such "identity theft" is first discovered by the "identity recovery insured" during the policy period for
   which this Identity Recovery coverage is applicable; and
3. Such "identity theft" is reported to us within 60 days after it is first discovered by the "identity recovery
   insured."
If all three of the requirements listed above have been met, then we will provide the following to the "identity
recovery insured":
1 . Case Management Service
    Services of an "identity recovery case manager" as needed to respond to the "identity theft"; and
2. Expense Reimbursement
   Reimbursement of necessary and reasonable "identity recovery expenses" incurred as a direct result of
   the "identity theft."
This coverage is additional insurance.
EXCLUSIONS
The following additional exclusions apply to this coverage:
We do not cover loss or expense arising from any of the following.
1. The theft of a professional or business identity.
2. Any fraudulent, dishonest or criminal act by an "identity recovery insured" or any person aiding or
   abetting an "identity recovery insured", or by any authorized representative of an "identity recovery
   insured", whether acting alone or in collusion with others. However, this exclusion shall not apply to the
   interests of an "identity recovery insured" who has no knowledge of or involvement in such fraud,
   dishonesty or criminal act.
3. An "identity theft" that is not reported in writing to the police.


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LIMITS
Case Management Service is available as needed for any one "identity theft" for up to 12 consecutive
months from the inception of the service. Expenses we incur to provide Case Management Service do not
reduce the amount of limit available for Expense Reimbursement coverage.
Expense Reimbursement coverage is subject to a limit of $15,000 annual aggregate per "identity recovery
insured." Regardless of the number of claims, this limit is the most we will pay for the total of all loss or
expense arising out of all "identity thefts" to any one "identity recovery insured" which are first discovered by
the "identity recovery insured" during a 12-month period starting with the beginning of the present annual
policy period. If an "identity theft" is first discovered in one policy period and continues into other policy
periods, all loss and expense arising from such "identity theft" will be subject to the aggregate limit
applicable to the policy period when the "identity theft" was first discovered.
Legal costs as provided under item d. of the definition of "identity recovery expenses" are part of, and not in
addition to, the Expense Reimbursement coverage limit.
Item e. (Lost Wages) and item f. (Child and Elder Care Expenses) of the definition of "identity recovery
expenses" are jointly subject to a sublimit of $5,000. This sublimit is part of, and not in addition to, the
Expense Reimbursement coverage limit. Coverage is limited to wages lost and expenses incurred within 12
months after the first discovery of the "identity theft" by the "identity recovery insured."
Item g. (Mental Health Counseling) of the definition of "identity recovery expenses" is subject to a sublimit
of $1,000. This sublimit is part of, and not in addition to, the Expense Reimbursement coverage limit.
Coverage is limited to counseling that takes place within 12 months after the first discovery of the "identity
theft" by the "identity recovery insured."
Item h. (Miscellaneous Unnamed Costs) of the definition of "identity recovery expenses" is subject to a
sublimit of $1,000. This sublimit is part of, and not in addition to, the Expenses Reimbursement coverage
limit. Coverage is limited to costs incurred within 12 months after the first discovery of the "identity theft" by
the "identity recovery insured."
DEDUCTIBLE
Neither the Case Management Service nor the Expense Reimbursement coverage is subject to a
deductible.
CONDITIONS
The following additional conditions apply to this coverage:
A. Help Line
    For assistance, the "identity recovery insured" should call the Identity Recovery Help Line at
    1-866-855-9282.
   The Identity Recovery Help Line can provide the "identity recovery insured" with:
    1. Information and advice for how to respond to a possible "identity theft"; and
   2. Instructions for how to submit a service request for Case Management Service and/or a claim form
      for Expense Reimbursement Coverage.
         In some cases, we may provide Case Management services at our expense to an "identity recovery
         insured" prior to a determination that a covered "identity theft" has occurred. Our provision of such
         services is not an admission of liability under the policy. We reserve the right to deny further
         coverage or service if, after investigation, we determine that a covered "identity theft" has not
         occurred.
         As respects Expense Reimbursement Coverage, the "identity recovery insured" must send to us,
         within 60 days after our request, receipts, bills or other records that support his or her claim for
         "identity recovery expenses."

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B. Services
   The following conditions apply as respects any services provided by us or our designees to any "identity
   recovery insured" under this endorsement:
   1. Our ability to provide helpful services in the event of an "identity theft" depends on the cooperation,
      permission and assistance of the "identity recovery insured."
   2. All services may not be available or applicable to all individuals. For example, "identity recovery
      insureds" who are minors or foreign nationals may not have credit records that can be provided or
      monitored. Service in Canada will be different from service in the United States and Puerto Rico in
      accordance with local conditions.
   3. We do not warrant or guarantee that our services will end or eliminate all problems associated with
      an "identity theft" or prevent future "identity thefts."
DEFINITIONS
With respect to the provisions of this endorsement only, the following definitions are added:
1. "Identity Recovery Case Manager" means one or more individuals assigned by us to assist an
   "identity recovery insured" with communications we deem necessary for re-establishing the integrity of
   the personal identity of the "identity recovery insured." This includes, with the permission and
   cooperation of the "identity recovery insured," written and telephone communications with law
   enforcement authorities, governmental agencies, credit agencies and individual creditors and
   businesses.
2. "Identity Recovery Expenses" means the following when they are reasonable and necessary
   expenses that are incurred as a direct result of an "identity theft":
   a. Costs for re-filing applications for loans, grants or other credit instruments that are rejected solely as
      a result of an "identity theft."
   b. Costs for notarizing affidavits or other similar documents, long distance telephone calls and postage
      solely as a result of your efforts to report an "identity theft" or amend or rectify records as to your
      true name or identity as a result of an "identity theft."
   c.   Costs for credit reports from established credit bureaus.
   d. Fees and expenses for an attorney approved by us for the following:
      (1) The defense of any civil suit brought against an "identity recovery insured."
      (2) The removal of any civil judgment wrongfully entered against an "identity recovery insured."
        (3) Legal assistance for an "identity recovery insured" at an audit or hearing by a governmental
            agency.
        (4) Legal assistance in challenging the accuracy of the "identity recovery insured's" consumer credit
            report.
        (5) The defense of any criminal charges brought against an "identity recovery insured" arising from
            the actions of a third party using the personal identity of the "identity recovery insured."
   e. Actual lost wages of the "identity recovery insured" for time reasonably and necessarily taken away
      from work and away from the work premises. Time away from work includes partial or whole work
      days. Actual lost wages may include payment for vacation days, discretionary days, floating holidays
      and paid personal days. Actual lost wages does not include sick days or any loss arising from time
      taken away from self employment. Necessary time off does not include time off to do tasks that
      could reasonably have been done during non-working hours.
   f.   Actual costs for supervision of children or elderly or infirm relatives or dependants of the "identity
        recovery insured" during time reasonably and necessarily taken away from such supervision. Such
        care must be provided by a professional care provider who is not a relative of the "identity recovery
        insured."

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   g. Actual costs for counseling from a licensed mental health professional. Such care must be provided
      by a professional care provider who is not a relative of the "identity recovery insured."
   h. Any other reasonable costs necessarily incurred by an "identity recovery insured" as a direct result
      of the "identity theft."
       (1) Such costs include:
            (a) Costs by the "identity recovery insured" to recover control over his or her personal identity.
            (b) Deductibles or service fees from financial institutions.
       (2) Such costs do not include:
            (a) Costs to avoid, prevent or detect "identity theft" or other loss.
            (b) Money lost or stolen.
            (c) Costs that are restricted or excluded elsewhere in this endorsement or policy.
3. "Identity Recovery Insured" means the following:
   a. When the entity insured under this policy is a sole proprietorship, the "identity recovery insured" is
      the individual person who is the sole proprietor of the insured entity.
   b. When the entity insured under this policy is a partnership, the "identity recovery insureds" are the
      current partners.
   c. When the entity insured under this policy is a corporation or other organization, the "identity
      recovery insureds" are all individuals having an ownership position of 20% or more of the insured
      entity. However, if and only if there is no one who has such an ownership position, then the "identity
      recovery insured" shall be:
       (1) The chief executive of the insured entity; or
       (2) As respects a religious institution, the senior ministerial employee.
   An "identity recovery insured" must always be an individual person. The entity insured under this policy
   is not an "identity recovery insured."
4. "Identity Theft" means the fraudulent use of the social security number or other method of identifying
   an "identity recovery insured." This includes fraudulently using the personal identity of an "identity
   recovery insured" to establish credit accounts, secure loans, enter into contracts or commit crimes.
   "Identity theft" does not include the fraudulent use of a business name, d/b/a or any other method of
   identifying a business activity.


            ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


CERTIFIED ACTS OF TERRORISM AND OTHER ACTS
          OF TERRORISM EXCLUSION
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART
FARM LIABILITY COVERAGE PART
LIQUOR LIABILITY COVERAGE PART
OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
RAILROAD PROTECTIVE LIABILITY COVERAGE PART

A. The following exclusion is added:
       TERRORISM AND PUNITIVE DAMAGES
       This insurance does not apply to "any injury or damage" arising, directly or indirectly, out of:
           (1) A "certified act of terrorism" or an "other act of terrorism", including any action taken in
               hindering or defending against an actual or expected incident of a "certified act of terror-
               ism" or an "other act of terrorism"; or
           (2) Any act of terrorism:
               (a) that involves the use, release or escape of nuclear materials, or directly or indirectly
                   results in nuclear reaction or radiation or radioactive contamination; or
               (b) that is carried out by means of the dispersal or application of pathogenic or poison-
                   ous biological or chemical materials; or
               (c) in which pathogenic or poisonous biological or chemical materials are released, and it
                   appears that one purpose of the terrorism was to release such materials;
           regardless of any other cause or event that contributes concurrently or in any sequence to
           the injury or damage in (1) or (2) above; including
           (3) Damages arising, directly or indirectly, out of (1) or (2) above that are awarded as puni-
               tive damages.
B. In the event of an act of terrorism, a "certified act of terrorism" or an "other act of terrorism" that is
   not subject to this exclusion, coverage does not apply to any loss or damage that is otherwise ex-
   cluded under this Coverage Part.
C. The following definitions are added to the DEFINITIONS Section:
   For the purposes of this endorsement, "any injury or damage" means any injury or damage covered
   under any Coverage Part to which this endorsement is applicable, and includes but is not limited to
   any damage, "bodily injury", "property damage", "personal and advertising injury", "injury" or "envi-
   ronmental damage" as may be defined in any applicable Coverage Part.
   "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in concur-
   rence with the Secretary of State and the Attorney General of the United States, to be an act ofter-
   rorism pursuant to the federal Terrorism Risk Insurance Act. The criteria contained in the Terrorism
   Risk Insurance Act for a "certified act of terrorism" include the following:
       a. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all
          types of insurance subject to the Terrorism Risk Insurance Act; and
       b. The act is a violent act or an act that is dangerous to human life, property or infrastructure
          and is committed by an individual or individuals as part of an effort to coerce the civilian pop-
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         ulation of the United States or to influence the policy or affect the conduct of the United
         States Government by coercion.
  "Other act of terrorism" means a violent act or an act that is dangerous to human life, property or in-
  frastructure that is committed by an individual or individuals and that appears to be part of an effort
  to coerce a civilian population or to influence the policy or affect the conduct of any government by
  coercion, and the act is not a "certified act of terrorism". Multiple incidents of an "other act of terror-
  ism" which occur within a seventy-two hour period and appear to be carried out in concert or to have
  a related purpose or common leadership shall be considered to be one incident.


          ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                                                                           COMMERCIAL GENERAL LIABILITY
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      RECORDING AND DISTRIBUTION OF MATERIAL OR
      INFORMATION IN VIOLATION OF LAW EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. Exclusion q. of Paragraph 2. Exclusions of Sec-          B. Exclusion p. of Paragraph 2. Exclusions of Sec-
   tion I - Coverage A - Bodily Injury And Prop-               tion I - Coverage B - Personal And Advertising
   erty Damage Liability is replaced by the follow-            Injury Liability is replaced by the following
   ing:                                                        2. Exclusions
   2. Exclusions                                                  This insurance does not apply to:
      This insurance does not apply to:                           p. Recording And Distribution Of Material
      q. Recording And Distribution Of Material                      Or Information In Violation Of Law
         Or Information In Violation Of Law                           "Personal and advertising injury" arising di-
          "Bodily injury" or "property damage" arising                rectly or indirectly out of any action or omis-
          directly or indirectly out of any action or                 sion that violates or is alleged to violate:
          omission that violates or is alleged to vio-               (1) The Telephone Consumer Protection
          late:                                                          Act (TCPA), including any amendment
         (1) The Telephone Consumer Protection                           of or addition to such law;
             Act (TCPA), including any amendment                     (2) The CAN-SPAM Act of 2003, including
             of or addition to such law;                                 any amendment of or addition to such
         (2) The CAN-SPAM Act of 2003, including                         law;
             any amendment of or addition to such                    (3) The Fair Credit Reporting Act (FCRA),
             law;                                                        and any amendment of or addition to
         (3) The Fair Credit Reporting Act (FCRA),                       such law, including the Fair and Accu-
             and any amendment of or addition to                         rate Credit Transaction Act (FACT A); or
             such law, including the Fair and Accu-                  (4) Any federal, state or local statute, ordi-
             rate Credit Transaction Act (FACT A); or                    nance or regulation, other than the
         (4) Any federal, state or local statute, ordi-                  TCPA, CAN-SPAM Act of 2003 or
             nance or regulation, other than the                         FCRA and their amendments and addi-
             TCPA, CAN-SPAM Act of 2003 or                               tions, that addresses, prohibits, or limits
             FCRA and their amendments and addi-                         the printing, dissemination, disposal,
             tions, that addresses, prohibits, or limits                 collecting, recording, sending, transmit-
             the printing, dissemination, disposal,                      ting, communicating or distribution of
             collecting, recording, sending, transmit-                   material or information.
             ting, communicating or distribution of
             material or information.




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                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 214909 99

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

         TOTAL POLLUTION EXCLUSION ENDORSEMENT
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

Exclusion f. under Paragraph 2., Exclusions of Sec-              (2) Any loss, cost or expense arising out of any:
tion I - Coverage A - Bodily Injury And Property                    (a) Request, demand, order or statutory or
Damage Liability is replaced by the following                           regulatory requirement that any insured or
This insurance does not apply to:                                       others test for, monitor, clean up, remove,
f. Pollution                                                            contain, treat, detoxify or neutralize, or in
                                                                        any way respond to, or assess the effects of
  (1) "Bodily injury" or "property damage" which                        "pollutants"; or
      would not have occurred in whole or part but for
      the actual, alleged or threatened discharge,                  (b) Claim or suit by or on behalf of a govern-
      dispersal, seepage, migration, release or es-                     mental authority for damages because of
      cape of "pollutants" at any time.                                 testing for, monitoring, cleaning up, remov-
                                                                        ing, containing, treating, detoxifying or neu-
                                                                        tralizing, or in any way responding to, or as-
                                                                        sessing the effects of, "pollutants".




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                                                                           COMMERCIAL GENERAL LIABILITY
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                       FUNGI OR BACTERIA EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.        B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I - Coverage A - Bodily              Exclusions of Section I - Coverage B - Per-
   Injury And Property Damage Liability:                      sonal And Advertising Injury Liability:
   2. Exclusions                                              2. Exclusions
      This insurance does not apply to:                           This insurance does not apply to:
      Fungi Or Bacteria                                           Fungi Or Bacteria
      a. "Bodily injury" or "property damage" which                 a. "Personal and advertising injury" which
         would not have occurred, in whole or in part,                 would not have taken place, in whole or in
         but for the actual, alleged or threatened in-                 part, but for the actual, alleged or threat-
         halation of, ingestion of, contact with, expo-                ened inhalation of, ingestion of, contact
         sure to, existence of, or presence of, any                    with, exposure to, existence of, or presence
         "fungi" or bacteria on or within a building or                of any 'fungi" or bacteria on or within a
         structure, including its contents, regardless                 building or structure, including its contents,
         of whether any other cause, event, material                   regardless of whether any other cause,
         or product contributed concurrently or in any                 event, material or product contributed con-
         sequence to such injury or damage.                            currently or in any sequence to such injury.
      b. Any loss, cost or expenses arising out of the            b. Any loss, cost or expense arising out of the
         abating, testing for, monitoring, cleaning up,              abating, testing for, monitoring, cleaning up,
         removing, containing, treating, detoxifying,                removing, containing, treating, detoxifying,
         neutralizing, remediating or disposing of, or               neutralizing, remediating or disposing of, or
         in any way responding to, or assessing the                  in any way responding to, or assessing the
         effects of, "fungi" or bacteria, by any insured             effects of, 'fungi" or bacteria, by any insured
         or by any other person or entity.                           or by any other person or entity.
      This exclusion does not apply to any 'fungi" or      C. The following definition is added to the Definitions
      bacteria that are, are on, or are contained in, a       Section:
      good or product intended for bodily consump-            "Fungi" means any type or form of fungus, includ-
      tion.                                                   ing mold or mildew and any mycotoxins, spores,
                                                              scents or byproducts produced or released by
                                                              fungi.




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                                                                            COMMERCIAL GENERAL LIABILITY
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    EXCLUSION - EXTERIOR INSULATION
                          AND FINISH SYSTEMS
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


A. This insurance does not apply to "bodily injury",         B. The following definition is added to the Definitions
   "property damage" or "personal and advertising in-           Section:
   jury" arising out of, caused by, or attributable to,         "Exterior insulation and finish system" means a
   whether in whole or in part, the following:                  non-load bearing exterior cladding or finish sys-
   1. The design, manufacture, construction, fabrica-           tem, and all component parts therein, used on any
      tion, preparation, distribution and sale, installa-       part of any structure, and consisting of:
      tion, application, maintenance or repair, includ-          1. A rigid or semi-rigid insulation board made of
      ing     remodeling,    service,   correction     or           expanded polystyrene and other materials;
      replacement, of any "exterior insulation and fin-
      ish system" or any part thereof, or any substan-           2. The adhesive and/or mechanical fasteners
      tially similar system or any part thereof, includ-            used to attach the insulation board to the sub-
      ing the application or use of conditioners,                   strate;
      primers, accessories, flashings, coatings,                 3. A reinforced or unreinforced base coat;
      caulking or sealants in connection with such a             4. A finish coat providing surface texture to which
      system; or
                                                                    color may be added; and
   2. "Your product" or ''your work" with respect to
                                                                 5. Any flashing, caulking or sealant used with the
      any exterior component, fixture or feature of                 system for any purpose.
      any structure if an "exterior insulation and finish
      system", or any substantially similar system, is
      used on the part of that structure containing
      that component, fixture or feature.




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                                                                                                   CICMSJ0039
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                                                                            COMMERCIAL GENERAL LIABILITY
                                                                                           CG 219603 05

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          SILICA OR SILICA-RELATED DUST EXCLUSION

This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART



A. The following exclusion is added to Paragraph 2.,         B. The following exclusion is added to Paragraph 2.,
   Exclusions of Section I - Coverage A - Bodily                Exclusions of Section I - Coverage B - Per-
   Injury And Property Damage Liability:                        sonal And Advertising Injury Liability:
   2. Exclusions                                                 2. Exclusions
      This insurance does not apply to:                             This insurance does not apply to:
      Silica Or Silica-Related Dust                                 Silica Or Silica-Related Dust
      a. "Bodily injury" arising, in whole or in part, out          a. "Personal and advertising injury" arising, in
         of the actual, alleged, threatened or sus-                    whole or in part, out of the actual, alleged,
         pected inhalation of, or ingestion of, "silica"               threatened or suspected inhalation of, in-
         or "silica-related dust".                                     gestion of, contact with, exposure to, exis-
      b. "Property damage" arising, in whole or in                     tence of, or presence of, "silica" or "silica-
                                                                       related dust".
         part, out of the actual, alleged, threatened
         or suspected contact with, exposure to, ex-                b. Any loss, cost or expense arising, in whole
         istence of, or presence of, "silica" or "silica-              or in part, out of the abating, testing for,
         related dust".                                                monitoring, cleaning up, removing, contain-
      c. Any loss, cost or expense arising, in whole                   ing, treating, detoxifying, neutralizing, reme-
         or in part, out of the abating, testing for,                  diating or disposing of, or in any way re-
         monitoring, cleaning up, removing, contain-                   sponding to or assessing the effects of,
                                                                       "silica" or "silica-related dust", by any in-
         ing, treating, detoxifying, neutralizing, reme-
         diating or disposing of, or in any way re-                    sured or by any other person or entity.
         sponding to or assessing the effects of,            C. The following definitions are added to the Defini-
         "silica" or "silica-related dust", by any in-          tions Section:
         sured or by any other person or entity.
                                                                 1. "Silica" means silicon dioxide (occurring in
                                                                    crystalline, amorphous and impure forms), sil-
                                                                    ica particles, silica dust or silica compounds.
                                                                 2. "Silica-related dust" means a mixture or combi-
                                                                    nation of silica and other dust or particles.




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                                                                                                    CICMSJ0040
                                                                                                             103 GL 0003631-00




                                                                             COMMERCIAL GENERAL LIABILITY
                                                                                            CG 24 26 07 04

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

      AMENDMENT OF INSURED CONTRACT DEFINITION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART


Paragraph 9. of the Definitions Section is replaced by                 Paragraph f. does not include that part of
the following:                                                         any contract or agreement:
   9. "Insured contract" means:                                       (1) That indemnifies a railroad for "bodily
      a. A contract for a lease of premises. How-                         injury" or "property damage" arising out
         ever, that portion of the contract for a lease                   of construction or demolition operations,
         of premises that indemnifies any person or                       within 50 feet of any railroad property
         organization for damage by fire to premises                      and affecting any railroad bridge or tres-
         while rented to you or temporarily occupied                      tle, tracks, road-beds, tunnel, underpass
         by you with permission of the owner is not                       or crossing;
         an "insured contract";                                       (2) That indemnifies an architect, engineer
      b. A sidetrack agreement;                                           or surveyor for injury or damage arising
                                                                          out of:
      c. Any easement or license agreement, except
         in connection with construction or demoli-                         (a) Preparing, approving, or failing to
         tion operations on or within 50 feet of a rail-                        prepare or approve, maps, shop
         road;                                                                  drawings, opinions, reports, surveys,
                                                                                field orders, change orders or draw-
      d. An obligation, as required by ordinance, to                            ings and specifications; or
         indemnify a municipality, except in connec-
         tion with work for a municipality;                                 (b) Giving directions or instructions, or
                                                                                failing to give them, if that is the pri-
      e. An elevator maintenance agreement;                                     mary cause of the injury or damage;
       f. That part of any other contract or agree-                             or
          ment pertaining to your business (including                 (3) Under which the insured, if an architect,
          an indemnification of a municipality in con-                    engineer or surveyor, assumes liability
          nection with work performed for a munici-                       for an injury or damage arising out of the
          pality) under which you assume the tort li-                     insured's rendering or failure to render
          ability of another party to pay for "bodily                     professional services, including those
          injury" or "property damage" to a third per-                    listed in (2) above and supervisory, in-
          son or organization, provided the "bodily in-                   spection, architectural or engineering ac-
          jury" or "property damage" is caused, in                        tivities.
          whole or in part, by you or by those acting
          on your behalf. Tort liability means a liability
          that would be imposed by law in the ab-
          sence of any contract or agreement.




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                                                                                                      CICMSJ0041
                                                                                                        103 GL 0003631-00




                                                                                                   IL 00 210908

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

               NUCLEAR ENERGY LIABILITY EXCLUSION
                         ENDORSEMENT
                                                 (Broad Form)


This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY


1. The insurance does not apply:                             C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"          or "property damage" resulting from "hazard-
      or "property damage":                                     ous properties" of "nuclear material", if:

     (1) With respect to which an "insured" under               (1) The "nuclear material" (a) is at any "nuclear
         the policy is also an insured under a nu-                  facility" owned by, or operated by or on be-
         clear energy liability policy issued by Nu-                half of, an "insured" or (b) has been dis-
         clear Energy Liability Insurance Associa-                  charged or dispersed therefrom;
         tion,    Mutual Atomic Energy Liability                (2) The "nuclear material" is contained in
         Underwriters, Nuclear Insurance Associa-                   "spent fuel" or "waste" at any time pos-
         tion of Canada or any of their successors,                 sessed, handled, used, processed, stored,
         or would be an insured under any such pol-                 transported or disposed of, by or on behalf
         icy but for its termination upon exhaustion                of an "insured"; or
         of its limit of liability; or                          (3) The "bodily injury" or "property damage"
     (2) Resulting from the "hazardous properties"                  arises out of the furnishing by an "insured"
         of "nuclear material" and with respect to                  of services, materials, parts or equipment in
         which (a) any person or organization is re-                connection with the planning, construction,
         quired to maintain financial protection pur-               maintenance, operation or use of any "nu-
         suant to the Atomic Energy Act of 1954, or                 clear facility", but if such facility is located
         any law amendatory thereof, or (b) the "in-                within the United States of America, its terri-
         sured" is, or had this policy not been issued              tories or possessions or Canada, this ex-
         would be, entitled to indemnity from the                   clusion (3) applies only to "property dam-
         United States of America, or any agency                    age" to such "nuclear facility" and any
         thereof, under any agreement entered into                  property thereat.
         by the United States of America, or any          2. As used in this endorsement:
         agency thereof, with any person or organi-
         zation.                                             "Hazardous properties" includes radioactive, toxic
                                                             or explosive properties.
   B. Under any Medical Payments coverage, to
      expenses incurred with respect to "bodily in-          "Nuclear material" means "source material", "spe-
      jury" resulting from the "hazardous properties"        cial nuclear material" or "by-product material".
      of "nuclear material" and arising out of the op-
      eration of a "nuclear facility" by any person or
      organization.




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                                                                                                  CICMSJ0042
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   "Source material", "special nuclear material", and            (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                     essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                   nuclear material" if at any time the total
   law amendatory thereof.                                           amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                  the "insured" at the premises where such
   ponent, solid or liquid, which has been used or ex-               equipment or device is located consists of
   posed to radiation in a "nuclear reactor".                        or contains more than 25 grams of pluto-
                                                                     nium or uranium 233 or any combination
   'Waste" means any waste material (a) containing                   thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                  235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed             (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)              or place prepared or used for the storage or
   resulting from the operation by any person or or-                 disposal of "waste";
   ganization of any "nuclear facility" included under        and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nu-         is located, all operations conducted on such site
   clear facility".                                           and all premises used for such operations.
   "Nuclear facility" means:                                  "Nuclear reactor" means any apparatus designed
     (a) Any "nuclear reactor";                               or used to sustain nuclear fission in a self-
                                                              supporting chain reaction or to contain a critical
     (b) Any equipment or device designed or used             mass of fissionable material.
         for (1) separating the isotopes of uranium or
         plutonium, (2) processing or utilizing "spent        "Property damage" includes all forms of radioac-
         fuel", or (3) handling, processing or packag-        tive contamination of property.
         ing "waste";




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                                                                                                CICMSJ0043
                                                                                                     103 GL 0003631-00


         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     MINIMUM PREMIUM
The following additional policy Conditions supersede any other policy conditions regarding a minimum
premium for this policy:
Policy Premium
 Policy premium means the premium that is calculated as follows:
   1. The minimum premium at audit as shown in the Policy Declarations, plus
   2. Any premium adjustment by endorsements, plus
   3. Any additional premium developed by audit.
Audits
The policy premium can only be reduced by 10% due to an audit. The due date for audit premiums is the date
shown as the due date on the bill.
Cancellation and Minimum Earned Premium
   1.    If you cancel this policy, the return premium will be 90% of the unearned premium. However, as a
         minimum earned premium, we will retain no less than 25% of the policy premium.
   2.    If we cancel the policy:
         a. for non-payment of premium, for any of the reasons stated in the U173-Cancellation Endorsement
            that provide a 10 day notice, or for the reasons stated in an amendatory state specific cancellation
            endorsement (up to and including a 30 day notice), the earned premium will be computed pro rata
            based on the length of the cancelled policy term; however, as a minimum earned premium, we will
            retain no less than 25% of the policy premium; or
         b. for any reason other than those identified in subparagraph 2. a. bove, the earned premium will
            be computed pro rata based on the length of the cancelled policy term, and the minimum earned
            premium as stated in 2.a. shall not apply.
         Any unearned premium will be returned as soon as practicable.
   3.    However, if the policy is a project specific policy where specified locations are designated for
         coverage and the policy period is in excess of one year, regardless of who initiates cancellation of the
         policy, the policy premium will be deemed fully earned after 75% of the policy period has passed. For
         a project specific policy, the policy premium will be deemed fully earned with no return premium to be
         provided upon cancellation once the project has reached a level of substantial completion following
         construction or renovation. Substantial completion means the earliest of the following:
                a. The date of use or occupancy of one or more of the locations of the specified project occurs;
                    occurs;
                b. A temporary or permanent certificate of occupancy has been issued;
                c. The date of the final inspection of the construction project by the applicable public agency
                   occurs; or
                d. The final cost of construction is at least 90% of the estimated construction cost upon
                    which this policy was based.


             ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




U002MD-0212                                                                                          Page 1 of 1



                                                                                               CICMSJ0044
                                                                                                    103 GL 0003631-00


        THIS ENDORSEMENT CHANGES THE POLICY.                      PLEASE READ IT CAREFULLY.


             OPEN ROOF AND HEATING EQUIPMENT
                   COVERAGE LIMITATION
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
   2. Exclusions is amended and the following added:
   Open Roof and Heating Equipment
   This Insurance does not apply to "property damage" arising directly or indirectly out of:
   (1) an "open roof".
       This exclusion does not apply if:
       (a) such "open roof" is covered with suitable waterproof material at the time of loss; and
       (b) such suitable waterproof material has been secured to the structure;
   (2) heat process equipment.
       This exclusion does not apply if the insured:
       (a) maintains a 15 lb. or larger charged ABC extinguisher at the site; and
       (b) maintains personnel at the site for 30 minutes or longer after the equipment has been shut off or
           left the site, and
       (c) personally inspects the area the heat work has been performed prior to leaving the site.

B. SECTION V - DEFINITIONS is amended and the following added:
   "Open roof" means any roof or section of a roof where the protective covering (shingles, tar, felt paper,
   etc.) has been removed leaving the shell of the structure exposed.


            ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




U00?-0410                                                                                       Page 1 of 1



                                                                                               CICMSJ0045
                                                                                                    103 GL 0003631-00


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


AIRCRAFT PRODUCTS AND GROUNDING EXCLUSION
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
   2. Exclusions and SECTION I - PRODUCTS/COMPLETED OPERATIONS BODILY INJURY AND
   PROPERTY DAMAGE LIABILITY, 2. Exclusions are amended and the following added:
   Aircraft or Grounding
   This insurance does not apply to "bodily injury" or "property damage" arising directly or indirectly out of:
   1. any "aircraft product" or the "grounding" of any aircraft; or
   2. "your work" on aircraft (including missile or spacecraft, and any ground support or control
      equipment).

B. SECTION V - DEFINITIONS is amended and the following added:
   "Aircraft product" means:
       a. Aircraft (including missile or spacecraft, and any ground support or control equipment used
          therewith);
       b. Any article furnished by you or on your behalf and installed in an aircraft or used in connection
          with an aircraft or for spare parts for an aircraft including ground handling tools and equipment;
       c. Any of "your products" used at an airport for the purpose of guidance, navigation or direction of
          aircraft;
       d. training aids, instructions, manuals, blueprints, engineering or other data or advice and services
          and labor relating to such aircraft, articles or products that you or any other person or
          organization on your behalf:
          (1) sold, handled or distributed; or
          (2) manufactured, assembled or processed:
              (a) according to specifications, plans, suggestions, orders, or drawings provided by you or on
                  your behalf; or
              (b) with tools, machinery or equipment furnished to such persons or drawings provided by
                  you or on your behalf.
   "Grounding" means:
       a. the withdrawal of one or more aircraft from flight operations; or
       b. the imposition of speed, passenger or load restrictions on such aircraft
       by reason of the existence of or alleged or suspected existence of any defect, fault or condition in
       such aircraft or any part thereof whether such aircraft so withdrawn are owned or operated by the
       same or different persons, organizations or corporations.

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                                                                                              CICMSJ0046
                                                                                               103 GL 0003631-00


          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


    EMPLOYMENT-RELATED PRACTICES EXCLUSION
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2.
Exclusions and SECTION I - COVERAGES, COVERAGE B PERSONAL AND ADVERTISING INJURY
LIABILITY, 2. Exclusions are amended and the following added:
Employment-Related Practices
This insurance does not apply to "bodily injury" or "personal and advertising injury" to:
(1) a person arising directly or indirectly out of any:
    (a) refusal to employ that person;
    (b) termination of that person's employment; or
    (c) employment-related practices, policies, acts or omissions, such as coercion, demotion, evaluation,
        reassignment, discipline, defamation, harassment, humiliation, assault, battery, discrimination,
        malicious prosecution or abuse including sexual abuse directed at any person; or
(2) the spouse, child, parent, brother or sister of that person as a consequence of "bodily injury" or
    "personal and advertising injury'' to that person at whom any of the employment-related practices
    described in Paragraphs (a), (b), or (c) above is directed.
This exclusion applies:
(1) whether the injury-causing event described in paragraphs (1) (a), (b), or (c) above occurs before
    employment, during employment or after employment of that person;
(2) whether the insured may be liable as an employer or in any other capacity; and
(3) to any obligation to share damages with or repay someone else who must pay damages because of the
    injury.


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                                                                                            CICMSJ0047
                                                                                                103 GL 0003631-00




      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                DEDUCTIBLE LIABILITY INSURANCE
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

                                                SCHEDULE
Coverage                                                           Amount and Basis of Deductible

                                                              PER CLAIM           or   PER OCCURRENCE
Bodily Injury Liability Coverage
OR
Property Damage Liability Coverage
OR
Personal and Advertising Injury Liability Coverage
OR
Bodily Injury Liability Coverage and/or Property Damage      $10,000
Liability Coverage and/or Personal and Advertising Injury
Liability Coverage Combined

A. For the purposes of this endorsement all deductible coverage options, amounts and basis of the
   deductible shall include all amounts we pay in the defense and investigation of any "claim" or "suit" to
   which this insurance applies as stated under the SUPPLEMENTARY PAYMENTS - COVERAGE A
   AND B section of the policy.
B. Our obligations under this policy for damages applies only to the amount excess of the deductible
   shown in the Schedule above.
C. We shall select a deductible amount on either aper claim or a per occurrence basis. Your selected
   deductible applies to the coverage option and to the basis of the deductible indicated by the
   placement of the deductible amount in the Schedule above. The deductible amount stated in the
   Schedule above applies as follows:
   1. PER CLAIM BASIS. If the deductible amount indicated in the Schedule above is on a per claim
       basis, that deductible applies as follows:
       a. Under Bodily Injury Liability Coverage, to all damages sustained by any one person because
           of "bodily injury";
       b. Under Property Damage Liability Coverage, to all damages sustained by any one person
           because of "property damage";
       c. Under Personal and Advertising Injury Liability Coverage, to all damages sustained by any
           one person because of "personal and advertising injury";
       d. Under Bodily Injury Liability Coverage and/or Property Damage Liability Coverage and/or
           Personal and Advertising Injury Liability Coverage Combined, to all damages sustained by
           any one person because of:
           (1) "Bodily injury";
           (2) "Property damage";
           (3) "Personal and advertising injury"; or
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           (4) "Bodily injury", "property damage", and "personal and advertising injury" combined,
       as the result of any one "occurrence".
       If damages are claimed for care, loss of services or death resulting at any time from "bodily
       injury", a separate deductible amount will be applied to each person making a "claim" for such
       damages.
       With respect to "property damage", person includes an organization.
   2. PER OCCURRENCE BASIS. If the deductible amount indicated in the Schedule above is on a
      per occurrence basis, that deductible amount applies as follows:
       a. Under Bodily Injury Liability Coverage, to all damages because of "bodily injury";
       b. Under Property Damage Liability Coverage, to all damages because of "property damage";
       c. Under Personal and Advertising Injury Liability Coverage, to all damages because of
          "personal and advertising injury";
       d. Under Bodily Injury Liability Coverage and/or Property Damage Liability Coverage and/or
          Personal and Advertising Injury Liability Coverage, to all damages because of:
           (1) "Bodily injury";
           (2) "Property damage";
           (3) "Personal and advertising injury"; or
           (4) "Bodily injury", "property damage", "personal and advertising injury" combined,
       as the result of any one "occurrence", regardless of the number of persons or organizations who
       sustain damages because of that "occurrence".
D. The terms of this insurance, including those with respect to:
   1. Our right and duty to defend the insured against any "suits" seeking those damages; and
   2. Your duties in the event of an "occurrence", "claim", or "suit"
   apply irrespective of the application of the deductible amount.
E. We, at our sole election and option, may either:
   1. Pay any part of or all of the deductible amount to effect settlement of any "claim" or "suit", and
      upon notification of the action taken, you shall promptly reimburse us for such part of the
      deductible amount as has been paid by us; or
   2. Simultaneously upon receipt of notice of any "claim" or at any time thereafter, request you pay or
      deposit with us all or any part of the deductible amount, to be held and applied by us as herein
      provided.
F. For the purposes of this endorsement, "claim" means a demand, received by the Insured, for money
   or services, including the service of "suit" against the Insured.



          ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                                                                                                   103 GL 0003631-00


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    EXCLUSION-
      CONTINUOUS, PROGRESSIVE OR REPEATED -
        BODILY INJURY, PROPERTY DAMAGE, OR
         PERSONAL AND ADVERTISING INJURY
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

In consideration of the premium charged, the following is added:

A. SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
   2. Exclusions is amended and the following is added:
   This insurance does not apply to:
   1. "bodily injury" or "property damage", including continuous or progressively deteriorating or repeated
      "bodily injury" or "property damage", that first occurs prior to the effective date of this policy;
   2. "bodily injury" or "property damage", including continuous or progressively deteriorating or repeated
      "bodily injury" or "property damage", that first occurs prior to the effective date of this policy and
      continues during the policy term;
   3. "bodily injury" or "property damage", including continuous or progressively deteriorating or repeated
      "bodily injury" or "property damage", that first occurs prior to the effective date of this policy,
      continues during the policy term, and ends after the expiration date of this policy; or
   4. "bodily injury" or "property damage", including continuous or progressively deteriorating or repeated
      "bodily injury" or "property damage", that first occurs after the expiration date of this policy.
   The exclusions in paragraphs 1. through 4. apply regardless of whether such "bodily injury" or "property
   damage" is known or unknown by any "Insured", as defined below.

B. SECTION I - COVERAGES, COVERAGE B PERSONAL AND ADVERTISING INJURY, 2. Exclusions
   is amended and the following is added:
   This insurance does not apply to:
   1. "personal and advertising injury", including continuous, progressive, or repeated "personal and
      advertising injury", that arises from an offense which was first committed prior to the effective date of
      this policy;
   2. "personal and advertising injury", including continuous, progressive, or repeated "personal and
       advertising injury", that arises from an offense which was first committed prior to the effective date of
      this policy and continues during the policy term;
   3. "personal and advertising injury", including continuous, progressive, or repeated "personal and
      advertising injury", that arises from an offense which was first committed prior to the effective date of
      this policy, continues during the policy term, and ends after the expiration date of this policy; or
   4. "personal and advertising injury", including continuous, progressive, or repeated "personal and
      advertising injury" that arises from an offense which was first committed after the expiration date of
      this policy;
   The exclusions in paragraphs 1. through 4. apply regardless of whether such "personal and advertising
   injury" is known or unknown by any "Insured", as defined below.


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                                                                                             CICMSJ0050
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C. For the purposes of this endorsement, the term "Insured" is defined as follows:
   "Insured" means any person or organization qualifying as an insured under "Who Is An Insured"
   provision in Section II of the Commercial General Liability Coverage Part along with either any additional
   named insured or additional insured whether added to this policy by endorsement or otherwise.

            ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                                                                                           CICMSJ0051
                                                                                                103 GL 0003631-00


     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           SUBSIDENCE EXCLUSION
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
   LIABILITY, 2. Exclusions is amended and the following added:
   Subsidence
   This insurance does not apply to "bodily injury" or "property damage" arising directly or indirectly out
   of "subsidence".

B. SECTION V - DEFINITIONS is amended and the following added:
   "Subsidence" means ground movement caused by soil conditions including but not limited to:
   a. soil erosion, freezing or thawing,
   b. improperly compacted soil or construction defects,
   c. roots of trees or shrubs,
   d. collapse of storm or sewer drains, or
   e. natural occurring shrink or swell soil.


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                                                                                          CICMSJ0052
                                                                                                 103 GL 0003631-00


       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                  ABSOLUTE
  AUTO, AIRCRAFT AND WATERCRAFT EXCLUSION
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
   LIABILITY, 2. Exclusions, paragraph g. is deleted and replaced with the following:
   g. Aircraft, Auto Or Watercraft
       "Bodily injury" or "property damage" arising directly or indirectly out of the ownership,
       maintenance, use or entrustment to others of any aircraft, "auto" or watercraft. Use includes
       operation and "loading or unloading".
       This exclusion applies even if the claims against any insured allege negligence or other
       wrongdoing in the supervision, hiring, employment, training or monitoring of others by that
       insured, if the "occurrence" which caused the "bodily injury" or "property damage" involved the
       ownership, maintenance, use or entrustment to others of any aircraft, "auto" or watercraft.
B. The following is deleted under SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS,
   4. Other Insurance, paragraph b. Excess Insurance:
       If the loss arises out of the maintenance or use of aircraft, "autos" or watercraft to the extent not
       subject to Exclusion g. of Section I - Coverage A - Bodily Injury and Property Damage Liability.


         ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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                                                                                           CICMSJ0053
                                                                                                 103 GL 0003631-00


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                     CANCELLATION
This endorsement modifies insurance provided under the following:
OUTPUT POLICY COVERAGE PART
COMMERCIAL AUTOMOBILE COVERAGE PART
COMMERCIAL GENERAL LIABILITY COVERAGE PART
COMMERCIAL INLAND MARINE COVERAGE PART
COMMERCIAL LIABILITY UMBRELLA COVERAGE PART
COMMERCIAL PROPERTY COVERAGE PART
CRIME AND FIDELITY COVERAGE PART
EMPLOYMENT-RELATED PRACTICES LIABILITY COVERAGE PART
EXCESS LIABILITY POLICY
FARM COVERAGE PART
FARM UMBRELLA LIABILITY POLICY
LIQUOR LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
PROFESSIONAL LIABILITY COVERAGE PART

Paragraph A. 2. Cancellation of the COMMON POLICY CONDITIONS is deleted and replaced by the
following:
   2. We may cancel this policy by mailing or delivering to the first Named Insured written notice of
      cancellation at least:
       a. 10 days before the effective date of cancellation if we cancel for one or more of the follow-
          ing reasons:
          (1) nonpayment of premium or failure to pay a premium when due;
          (2) conviction of an insured of a crime arising out of acts increasing the hazard insured
              against;
          (3) violation of any local fire, health, safety, building or construction regulation or ordinance
              which increases the hazard insured against under the policy;
          (4) any willful or reckless act or omission by an insured increasing the hazard insured
              against;
          (5) omission or concealment of fact relating to an insurance application, rating, claim or
              coverage under this policy;
          (6) failure or refusal of an insured to:
              (a) provide information necessary to confirm exposure or determine the policy premium;
                  or
              (b) comply with underwriting requirements;
          (7) a substantial change in the risk covered by the policy;
          (8) loss of reinsurance or substantial decrease in reinsurance;
          (9) the cancellation is for all insureds under such policies for a given class of insureds; or
         (10) any reason determined by the insurance commissioner.
       b. 30 days before the effective date of cancellation if we cancel for any other reason.

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                                                                                             CICMSJ0054
                                                                               103 GL 0003631-00




  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                    INSPECTION

This endorsement modifies the policy as follows:

$250.00 is added to this policy for an inspection and is not refundable.


      ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




U184-0702                                                                   Page 1 of 1




                                                                           CICMSJ0055
                                                                                              103 GL 0003631-00




          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                  COMPOSITE RATE
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

The premium for the policy to which this endorsement is attached shall be computed upon a composite
basis in accordance with the Company's rules, rates, rating plans, premium and minimum premium and
other applicable terms and conditions of the policy.
 Premium Basis:
 Gross Sales
     "Gross Sales" means the gross amount charged by the named insured, concessionaires of the
     named insured or by others trading under the insured's name for: a) all goods or products, sold
     or distributed; b) operations performed during the policy period, including operations performed
     for the insured by independent contractors; c) rentals; and d) dues or fees. "Gross Sales" does
     not include sales or excise taxes that are collected and submitted to a governmental division.




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                                                                                        CICMSJ0056
                                                                                                     103 GL 0003631-00


        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

             WARRANTY OF SUBCONTRACTOR LIMITS
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS, 5. Premium Audit, subparagraph c.,
   and SECTION IV - PRODUCTS/COMPLETED OPERATIONS LIABILTY CONDITIONS, 5. Premium
   Audit, subparagraph c. are deleted and replaced with the following:
       c. The first Named Insured must keep records of the information we need for premium computation,
          and send us copies at such times as we may request. In addition:
          (1) You shall provide us upon our request copies of Certificates of Insurance that you shall require
              and have obtained from your subcontractors before any work is performed on your behalf. You
              shall maintain copies of these Certificates during and for up to 3 years after the term of such
              work.
          (2) The Certificate must evidence coverage and Limits of Insurance, in force for the term of the
              work performed for you, that are equal to or greater than the coverage and Limits of Insurance
              provided by this policy, unless other limits are shown below:
              Limits of Insurance
                    Each Occurrence Limit                                                  $1,000,000
                   General Aggregate Limit (other than Products/Completed                  $ 2,000,000
                   Operations)
                    Products/Completed Operations Aggregate Limit                          $2,000,000
          (3) We will have the right to adjust the annual premium charged you and use the "total cost" of all
              work you subcontract as the basis for the additional premium for any subcontractor:
              (a) whose Certificate of Insurance shows Limits of Insurance or coverage less than that
                  required by us; or
              (b) for whom you do not have a Certificate.
              We will charge you a rate of $24.38 per 1 ooo of "total cost". This premium charge will be
              made at audit and will be in addition to the minimum policy premium.
B. The DEFINITIONS Section is amended and the following added:
   "Total cost" means the combined cost of:
       a. all labor; plus
       b. materials and equipment furnished, used or delivered for use in the execution of the work
          performed; and
       c. overhead and profit including fees and commissions.



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                                                                                                CICMSJ0057
                                                                                                      103 GL 0003631-00


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


              PROFESSIONAL SERVICES EXCLUSION
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2.
Exclusions and COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY, 2. Exclusions are
amended and the following is added:
Professional Services
This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury'' arising
directly or indirectly out of the rendering or failure to render any "professional service" except by endorsement
to this policy and then only to the extent of such endorsement.
"Professional service" means:
(1) Legal, accounting or advertising services;
(2) Preparing, approving, or failing to prepare or approve maps, drawings, opinions, reports, surveys,
    change orders, designs or specifications;
(3) Engineering services, including related supervisory or inspection services;
(4) Medical, surgical, dental, x-ray or nursing services, treatment, advice or instruction;
(5) Any health or therapeutic service, treatment, advice or instruction;
(6) Any service, treatment, advice or instruction for the purpose of appearance or skin enhancement, hair
    removal or replacement, or personal grooming;
(7) Optometry or optical or hearing aid services including the prescribing, preparation, fitting, demonstration
    or distribution of ophthalmic lenses and similar products or hearing aid devices;
(8) Body piercing or tattooing services including but not limited to the insertion of pigment, collagen or any
    other foreign substance into or under the skin;
(9) Services in the practice of pharmacy;
(10) Law enforcement or firefighting services; and
(11) Handling, embalming, disposal, burial, cremation or disinterment of dead bodies.

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                                                                                               CICMSJ0058
                                                                                                      103 GL 0003631-00


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

       EXCLUSION - USL&H, JONES ACT OR OTHER
                   MARITIME LAWS
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2.
Exclusions and COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY, 2. Exclusions are
amended and the following is added:
USL&H, Jones Act or Other Maritime Laws Exclusion
This insurance does not apply to "bodily injury", "property damage" or "personal and advertising injury'' arising
directly or indirectly out of:
(1) operations over navigable waters or offshore including but not limited to drilling and production platforms,
    pipelines, and vessels where coverage is provided by the U.S. Longshore & Harbor Workers
    Compensation Act (USL&H), Merchant Marine Act ("Jones Act") or other maritime laws and any
    amendments to those laws;
(2) actions including but not limited to subrogation involving U.S. Longshore & Harbor Workers
    Compensation Act (USL&H), Merchant Marine Act ("Jones Act") or other maritime laws and any
    amendments to those laws; or
(3) any obligation of the insured resulting from actions under the U.S. Longshore & Harbor Workers
    Compensation Act (USL&H), Merchant Marine Act ("Jones Act") or other maritime laws and any
    amendments to those laws.




           ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




U266-0510                                                                                           Page 1 of 1



                                                                                               CICMSJ0059
                                                                                                103 GL 0003631-00


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                          CROSS SUITS EXCLUSION
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

SECTION I -COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2.
Exclusions and COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY, 2. Exclusions in the
Commercial General Liability Coverage Part; and SECTION I -COVERAGES, PRODUCTS/COMPLETED
OPERATIONS BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions in the
Products/Completed Operations Liability Coverage Part are amended and the following added:
   CROSS SUITS EXCLUSION
   This insurance does not apply to any claim or "suit" for "bodily injury", "property damage" or "personal
   and advertising injury" brought by any Named Insured against any other Named Insured.


          ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




U267A-0813                                                                                    Page 1 of 1



                                                                                          CICMSJ0060
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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                BREACH OF CONTRACT EXCLUSION

This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

SECTION I - COVERAGES, COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY, 2.
Exclusions, f. Breach Of Contract is deleted and replaced by the following:
This insurance does not apply to damages directly or indirectly arising out of:
   f.   Breach Of Contract
        "Personal and advertising injury" arising out of a breach of contract, including an implied contract
        to use another's advertising idea in your "advertisement".


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                                                                                           CICMSJ0061
                                                                                                 103 GL 0003631-00


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                 EXCLUSION - LEAD
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART


SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
2. Exclusions and COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY, 2.
Exclusions are amended and the following added:
This insurance does not apply to:
   Lead
   (1) "bodily injury" or "personal and advertising injury" arising, in whole or in part, out of the actual,
       alleged, threatened or suspected inhalation of, ingestion of, contact with, exposure to, existence
       of, or presence of, lead in any form.
   (2) "property damage" arising, in whole or in part, out of the actual, alleged, threatened or suspected
       contact with, exposure to, existence of, or presence of, lead in any form.
   (3) any damages, loss, cost or expense arising, in whole or in part, out of the abating, testing for,
       monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing, remediating or
       disposing of, or in any way responding to or assessing the effects of, lead in any form, by any
       insured or by any other person or entity.
   (4) any claim or "suit" by or on behalf of a governmental authority for damages, loss, cost or expense
       arising, in whole or in part, out of the abating, testing for, monitoring, cleaning up, removing,
       containing, treating, detoxifying, neutralizing, remediating or disposing of, or in any way
       responding to or assessing the effects of, lead in any form, by any insured or by any other person
       or entity.
   This exclusion shall apply without regard to the source or sources of lead, or the basis of the insured's
   liability. This exclusion includes defects or negligence in design, construction or materials, or any
   other event, conduct or misconduct, which may have or is claimed to have precipitated, caused or
   acted jointly, concurrently or in any sequence with lead in any form in causing injury or damage.

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                                                                                           CICMSJ0062
                                                                                                 103 GL 0003631-00


      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                           EXCLUSION - ASBESTOS
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
LIABILITY, 2. Exclusions and COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY, 2.
Exclusions are amended and the following added:
This insurance does not apply to:
   Asbestos
   (1) "bodily injury" or "personal and advertising injury" arising, in whole or in part, out of the actual,
       alleged, threatened or suspected inhalation of, ingestion of, contact with, exposure to, existence
       of, or presence of, asbestos in any form.
   (2) "property damage" arising, in whole or in part, out of the actual, alleged, threatened or suspected
       contact with, exposure to, existence of, or presence of, asbestos in any form.
   (3) any damages, loss, cost or expense arising, in whole or in part, out of the abating, testing for,
       monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing, remediating or
       disposing of, or in any way responding to or assessing the effects of, asbestos in any form, by
       any insured or by any other person or entity.
   (4) any claim or "suit" by or on behalf of a governmental authority for damages, loss, cost or expense
       arising, in whole or in part, out of the abating, testing for, monitoring, cleaning up, removing,
       containing, treating, detoxifying, neutralizing, remediating or disposing of, or in any way
       responding to or assessing the effects of, asbestos in any form, by any insured or by any other
       person or entity.
   This exclusion shall apply without regard to the source or sources of asbestos, or the basis of the
   insured's liability. This exclusion includes defects or negligence in design, construction or materials,
   or any other event, conduct or misconduct, which may have or is claimed to have precipitated, caused
   or acted jointly, concurrently or in any sequence with asbestos in any form in causing injury or
   damage.

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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                             EXCLUSION - DEDICATED
                             INSURANCE PROGRAM(S)
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
   LIABILITY, 2. Exclusions is amended and the following added:
   This insurance does not apply to:
   Dedicated Insurance Program(s)
   "bodily injury" or "property damage" arising out of either your ongoing operations or operations
   included within the "products-completed operations hazard" at any project(s) which is, or was subject
   to a "dedicated insurance program".
   This exclusion applies whether or not the "dedicated insurance program":
   1. provides coverage identical to that provided by this Coverage Part;
   2.   provides coverage to one or more contractors;
   3.   provides multiple lines of coverage;
   4.   has limits adequate to cover all claims; or
   5.   remains in effect.
B. SECTION V - DEFINITIONS is amended and the following added:
  "Dedicated insurance program" means wrap-up programs(s), owner controlled insurance program(s),
  contractor controlled insurance program(s), or other job(s) or project specific policy / program(s)
  whether provided by you, or any other person or entity.

          ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




U483-1211                                                                                   Page 1 of 1



                                                                                        CICMSJ0064
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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


   EXCLUSION -NEW RESIDENTIAL CONSTRUCTION
           WORK EXCEPT AS SPECIFIED
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
2. Exclusions, and SECTION I - COVERAGES, PRODUCTS/COMPLETED OPERATIONS BODILY
INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions are amended and the following
Exclusion is added:
   Residential Construction Work
   This insurance does not apply to "bodily injury" or "property damage" included in the "products-
   completed operations hazard" and arising directly or indirectly out of "your work" on new "residential
   construction". This exclusion may be subject to exception, as set forth below, but only if the box
   corresponding to the description of any such exception is checked, and then only to the extent of the
   exception so described.

SECTION V - DEFINITIONS is amended and the following is added:
   "Residential construction" means buildings, structures or other improvements to real property
   constructed, maintained or sold for the purpose of being used by natural persons as a dwelling,
   inclusive of all infrastructure improvements in connection therewith, including, but not limited to,
   grading/excavating, utilities, road paving/curbs/sidewalks. "Residential construction" shall include,
   but not be limited to, single or multiple family housing, including apartments, townhouses,
   condominiums, co-operatives, duplexes, triplexes, fourplexes, and single-family detached housing.
   "Residential construction" also includes the terms "Apartment Structures", "Common Interest
   Developments", "Condominiums", "Condominium Projects", "Condominium Conversion Projects",
   "Cooperatives", "Custom Homes", "Infrastructure" or "Site Work", "Military Housing", "Residential
   Tract Housing", "Senior Housing Projects", "Senior Living Structures", "Assisted Senior Housing
   Projects", "Single Family Homes Built on Spec", "Student Housing", "Time Shares", "Townhouse
   Projects", or "Rental Property Units", all as further defined herein for the purposes of this
   Endorsement only.
   "Condominium" is defined as any of the following: (1) An estate in real property where there is an
   undivided interest in common in a portion of real property, coupled with a separate interest in space
   called a unit, the boundaries of which are described on a recorded final map, parcel map, or
   condominium plan. The areas within the boundaries may be filled with air, earth or water, or any
   combination thereof, and need not be attached to land except by easements for access and support;
   (2) A type of ownership in real property where all of the owners own the property, common areas and
   buildings together, with the exception of the interior of the unit to which they have title; (3) Real
   estate, portions of which are designated for separate ownership and the remainder of which is
   designated for common ownership, solely by the owners of those designated portions; (4) A single
   real property parcel with all the unit owners having a right in common to use the common elements
   with a separate ownership confined to the individual units that are serially designated.




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    "Cooperative" means any of the following: (1) A type of multiple ownership of real property in which
    the residents of a multiunit housing complex own shares in the cooperative corporation that owns the
    property, giving each resident the right to occupy a specific apartment or unit; (2) dwelling units in a
    multi-dwelling complex in which each owner has an interest in the entire complex and a lease of
    his/her/its own apartment.
    "Common Interest Development" means any of the following: (1) A condominium project; (2) A stock
    cooperative.

EXCEPTIONS TO RESIDENTIAL CONSTRUCTION WORK EXCLUSION:
This exclusion does not apply to the following (any exception to this exclusion is only applicable if a
corresponding box below is checked):

~     "Apartment Structures", which are defined as multi unit dwelling structures that are designed to be
      leased or rented by the owner of the structures to third-party tenants, and includes apartment
      buildings and apartment units.
D     "Condominium Projects", which are defined as consisting of multiple individual "Condominiums", as
      defined elsewhere in this Endorsement, on a single parcel of real property.
D     "Condominium Conversion Projects", which are defined as any existing multi unit dwelling structure,
      including "Apartment Structures", that prior to, during, or after the policy period, is converted to be
      sold as "Condominium(s)", "Cooperative(s)", "Common Interest Development(s)" or any sort of
      combination or derivative thereof, all as those terms are defined elsewhere in this Endorsement.
~     "Custom Homes", which are defined as houses of a unique plan or blueprint built to an owner's
      specifications and sold before construction begins.
D     "Military Housing", which is defined as single family or multi unit housing that is built for the US
      government or a branch of the armed forces of the United States, and that will be leased or
      otherwise made available to enlisted service men or women to be used as a dwelling while they are
      members of the U.S. Armed Forces
D     "Residential Tract Housing", which is defined as single family, duplex, triplex or fourplex residential
      housing, not part of a "Condominium Project" or "Townhouse Project" (as defined elsewhere in this
      Endorsement), that is built by residential developers for sale to individuals during or after
      completion of construction. "Tract Housing" is further defined as consisting of 10 or more units in a
      single contiguous location.
D     "Senior Housing Projects", "Senior Living Structures", or "Assisted Senior Housing Projects", which
      are defined collectively as:
         Dwellings that HUD has determined are specifically designed for and occupied by elderly
         persons under a Federal, State, or local government program; or
         Dwellings occupied solely by persons who are 62 or older; or
         Dwellings where at least one person who is 55 or older resides in at least 80 percent of the
         occupied units in any one location, and where the policy applicable to the dwellings
         demonstrates an intent to house persons who are 55 or older.




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D   "Infrastructure" or "Site Work", which is defined as work involving common areas, excluding any
    building construction, and for purposes of this exception to the Residential Construction Exclusion,
    is further limited to:




~   "Single Family Homes Built on Spec", which are defined as homes of a unique plan or blueprint,
    built by themselves, and not in conjunction with other homes of like design and blueprint, by a
    general contractor, for sale after completion of construction.
D   "Student Housing", which is defined as single family or multi unit housing that is built and owned by
    any school or educational institution for the purpose of housing students, faculty, or other personnel
    of the school or educational institution, while they are attending or are employed by the school or a
    educational institution.
D   "Time Shares", which are defined as structures that are designed and available for use and
    occupancy as a residence, and that are constructed for the purpose of being offered as part of a
    "timeshare plan," as that phrase is defined in the Vacation Ownership Time Share Act of 2004, at
    California Business & Professions Code Section11212, or as otherwise defined under any similar
    statutory scheme governing the offering of residential units to the public for use and occupancy as
    a vacation property on a recurring periodic basis of less than one year, and in effect in the state
    where the structures are located.
D   "Townhouse Projects", which are defined as multi unit housing consisting of houses in a row, of
    usually the same or similar design, with common side walls or with a very narrow space between
    adjacent side walls, including individual Townhouses.
D   "Rental Property Units", which are defined as any structures that are built as dwellings with the
    intended purpose of renting or leasing, rather than selling, the units to third-parties.
D   Specific Project(s):




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

   EXCLUSION - INJURY TO TEMPORARY WORKER,
    VOLUNTEER WORKER, OR CASUAL WORKER
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART
OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART

A. COMMERCIAL GENERAL LIABILITY COVERAGE FORM, SECTION I-COVERAGES, COVERAGE A
   BODILY INJURY AND PROPERTY DAMAGE LIABIL TY, 2. Exclusions and COVERAGE B
   PERSONAL AND ADVERTISING INJURY LIABILITY, 2. Exclusions; and OWNERS AND
   CONTRACTORS PROTECTIVE LIABILITY COVERAGE FORM, SECTION I-COVERAGES, BODILY
   INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions are amended and the following is added:
   This insurance does not apply to "bodily injury" or "personal and advertising injury'' to any "temporary
   worker", "volunteer worker" or "casual worker", or any of their spouses, children, parents, brothers, sisters
   or registered domestic partners.
B. SECTION V - DEFINITIONS is amended and the following added:
   For the purpose of this endorsement only, the term:
       a. "Casual worker" means:
          (1) A person, other than a person furnished to you by a labor union, who acts at the direction of
              and within the scope of duties determined by any insured, and is employed by any insured for
              a short time and for a limited and temporary purpose; or
          (2) A person for whom any insured, or a labor leasing firm acting on behalf of any insured, does
              not withhold federal income taxes and pay federal unemployment tax.
       b. "Temporary worker" means a person who is furnished to you to substitute for a permanent worker
          on leave or to meet seasonal or short-term workload conditions.
          However, "temporary worker" does not include a person who is furnished to you by a labor union
          to substitute for a permanent worker on leave or to meet seasonal or short-term workload
          conditions.


          ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


     EXCLUSION - IMPORTED DRYWALL DAMAGE -
           RESIDENTIAL CONSTRUCTION
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

A. SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
   LIABILITY, 2. Exclusions, and SECTION I-COVERAGES, PRODUCTS/COMPLETED OPERATIONS,
   BODILY INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions are amended to include the
   following additional exclusion:
   This insurance does not apply to:
   Imported Drywall Damage - Residential Construction
   (1) "Property damage" arising out of the release of gases, fumes, vapors or particulates from "imported
       drywall" used in any "residential construction" in connection with "your work" or "your product",
       including operations performed by you or on your behalf by a contractor or subcontractor.
   (2) "Property damage" arising out of the design, manufacture, construction, fabrication, preparation,
       distribution, sale, installation, application, maintenance, repair, remodeling, servicing, correction or
       replacement of any "imported drywall" used in any "residential construction". This applies whether or
       not the "property damage" is included within the "products-completed operations hazard".
   (3) "Property damage" included in the "products-completed operations hazard" and arising out of "your
       work" on any "residential construction" involving all operations conducted using "imported drywall",
       whether performed by you or on your behalf.
   (4) "Property damage" arising out of "your product" used in or ''your work" on any "residential construction"
       with respect to any electrical, mechanical, plumbing or structural system or equipment, or any other
       component, fixture or feature of any "residential construction", if any "imported drywall" is used in the
       "residential construction" containing that electrical, mechanical, plumbing or structural system or
       equipment, component, fixture or feature.
   (5) Any loss, cost or expenses arising out of the abating, testing for, monitoring, cleaning up, removing,
       containing, treating, detoxifying, neutralizing, re mediating, disposing of, or in anyway responding to or
       assessing the effects of "imported drywall" used in any "residential construction", or any gases, fumes,
       vapors or particulates emitted or released from such "imported drywall" used in any "residential
       construction".
   (6) Any obligations to share damages, losses, costs or expenses with or indemnify another party who
       must pay damages, losses, costs or expenses arising out of or relating to "imported drywall" used in
       any "residential construction", or any gases, fumes, vapors or particulates emitted or released from
       such "imported drywall" used in any "residential construction".
   (7) Any supervision, instructions, recommendations, warnings or advice given or which should have been
       given in connection with subparagraphs (1) through (6) above.
  This exclusion applies whether or not such "imported drywall" has any use or function in your business,
  operations, premises, site or location.
B. The following definitions are added to the Definitions Section:
  "Imported drywall" means any drywall, plasterboard, sheetrock or gypsum board manufactured outside of

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  the United States, or any pre-manufactured interior wall that is made with drywall, plasterboard, sheetrock
  or gypsum board manufactured outside of the United States.
  "Residential construction" means buildings, structures or other improvements to real property constructed,
  maintained or sold for the purpose of being used by natural persons as a dwelling, inclusive of all
  infrastructure improvements in connection therewith, including, but not limited to, grading/excavating,
  utilities, road paving/curbs/sidewalks. "Residential construction" shall include, but not be limited to, single
  or multiple family housing, including apartments, townhouses, condominiums, co-operatives, duplexes,
  triplexes, fourplexes, and single-family detached housing.


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                       EXCLUSION - WORK HEIGHT
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART
PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART

SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
2. Exclusions and SECTION I - COVERAGES, PRODUCTS/COMPLETED OPERATIONS, BODILY
INJURY AND PROPERTY DAMAGE LIABILITY, 2. Exclusions are amended and the following added:
This insurance does not apply to:
   Work Height
   (1) "bodily injury" or "property damage" arising out of ongoing operations performed, by you or on
       your behalf, on the exterior of any building or structure which is the greater of six story(ies) or
       72 feet above ground level in height; or
   (2) "bodily injury" or "property damage" included in the "products-completed operations hazard" and
       arising out of "your work" performed on the exterior of any building or structure which is the
       greater of six story(ies) or 72 feet above ground level in height.

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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                            EXCLUSION - BENZENE
This endorsement modifies insurance provided under the following:
COMMERCIAL GENERAL LIABILITY COVERAGE PART


SECTION I - COVERAGES, COVERAGE A BODILY INJURY AND PROPERTY DAMAGE LIABILITY,
2. Exclusions and COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY, 2.
Exclusions are amended and the following added:
This insurance does not apply to:
   Benzene
   (1) "bodily injury" or "personal and advertising injury" arising, in whole or in part, out of the actual,
       alleged, threatened or suspected inhalation of, ingestion of, contact with, exposure to, existence
       of, or presence of, benzene in any form.
   (2) "property damage" arising, in whole or in part, out of the actual, alleged, threatened or suspected
       contact with, exposure to, existence of, or presence of, benzene in any form.
   (3) any damages, loss, cost or expense arising, in whole or in part, out of the abating, testing for,
       monitoring, cleaning up, removing, containing, treating, detoxifying, neutralizing, remediating or
       disposing of, or in any way responding to or assessing the effects of, benzene in any form, by any
       insured or by any other person or entity.
   (4) any claim or "suit" by or on behalf of a governmental authority for damages, loss, cost or expense
       arising, in whole or in part, out of the abating, testing for, monitoring, cleaning up, removing,
       containing, treating, detoxifying, neutralizing, remediating or disposing of, or in any way
       responding to or assessing the effects of, benzene in any form, by any insured or by any other
       person or entity.
   This exclusion shall apply without regard to the source or sources of benzene, or the basis of the
   insured's liability. This exclusion includes defects or negligence in design, construction or materials,
   or any other event, conduct or misconduct, which may have or is claimed to have precipitated, caused
   or acted jointly, concurrently or in any sequence with benzene in any form in causing injury or
   damage.

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       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          CONDITIONAL EXCLUSION OF TERRORISM
          (RELATING TO DISPOSITION OF FEDERAL
             TERRORISM RISK INSURANCE ACT)
A. Applicability Of The Provisions Of This Endorsement
   1. The provisions of this endorsement become applicable commencing on the date when any
      one or more of the following first occurs. But if your policy (meaning the policy period in
      which this endorsement applies) begins after such date, then the provisions of this endorse-
      ment become applicable on the date your policy begins.
       a. The federal Terrorism Risk Insurance Program ("Program"), established by the Terrorism
          Risk Insurance Act, has terminated with respect to the type of insurance provided under
          this Coverage Part or Policy; or
       b. A renewal, extension or replacement of the Program has become effective without a re-
          quirement to make terrorism coverage available to you and with revisions that:
          (1) Increase our statutory percentage deductible under the Program for terrorism losses.
              (That deductible determines the amount of all certified terrorism losses we must pay
              in a calendar year, before the federal government shares in subsequent payment of
              certified terrorism losses.); or
          (2) Decrease the federal government's statutory percentage share in potential terrorism
              losses above such deductible; or
          (3) Redefine terrorism or make insurance coverage for terrorism subject to provisions or
              requirements that differ from those that apply to other types of events or occurrences
              under this policy.
   2. If the provisions of this endorsement become applicable, such provisions:
       a. Supersede any terrorism endorsement already endorsed to this policy that addresses
          "certified acts of terrorism" and/or "other acts of terrorism", but only with respect to an
          incident(s) of terrorism (however defined) which results in injury or damage that occurs
          on or after the date when the provisions of this endorsement become applicable (for
          claims made policies, such an endorsement is superseded only with respect to an inci-
          dent of terrorism (however defined) that results in a claim for injury or damage first being
          made on or after the date when the provisions of this endorsement become applicable);
          and
       b. Remain applicable unless we notify you of changes in these provisions, in response to
          federal law.
   3. If the provisions of this endorsement do NOT become applicable, any terrorism endorsement
      already endorsed to this policy, that addresses "certified acts of terrorism" and/or "other
      acts of terrorism", will continue in effect unless we notify you of changes to that endorse-
      ment in response to federal law.
B. The following definitions are added and apply under this endorsement wherever the term terrorism, or
   the phrase any injury or damage, are enclosed in quotation marks:
   1. "Terrorism" means activities against persons, organizations or property of any nature:
       a. That involve the following or preparation for the following:
          (1) Use or threat of force or violence; or
          (2) Commission or threat of a dangerous act; or
          (3) Commission or threat of an act that interferes with or disrupts an electronic, communication,
              information, or mechanical system; and
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       b. When one or both of the following applies:
            (1) The effect is to intimidate or coerce a government or the civilian population or any segment
                thereof, or to disrupt any segment of the economy; or
            (2) It appears that the intent is to intimidate or coerce a government, or to further political, ideo-
                logical, religious, social or economic objectives or to express (or express opposition to) a phi-
                losophy or ideology.
   2. "Any injury or damage" means any injury or damage covered under any Coverage Part or Policy to
      which this endorsement is applicable, and includes but is not limited to "suit", "claim", "injury", "dam-
      age", "bodily injury", "property damage", "personal and advertising injury", or "environmental dam-
      age" as may be defined in any applicable Coverage Part or Policy.
C. The following exclusion is added:
   EXCLUSION OF TERRORISM
   We will not pay for "any injury or damage" caused directly or indirectly by "terrorism", including action in
   hindering or defending against an actual or expected incident of "terrorism". "Any injury or damage" is
   excluded regardless of any other cause or event that contributes concurrently or in any sequence to
   such injury or damage. But this exclusion applies only when one or more of the following are at-
   tributed to an incident of "terrorism":
   1. The "terrorism" is carried out by means of the dispersal or application of radioactive material, or
       through the use of a nuclear weapon or device that involves or produces a nuclear reaction, nuclear
       radiation or radioactive contamination; or
   2. Radioactive material is released, and it appears that one purpose of the "terrorism" was to release
       such material; or
   3. The "terrorism" is carried out by means of the dispersal or application of pathogenic or poisonous bi-
       ological or chemical materials; or
   4. Pathogenic or poisonous biological or chemical materials are released, and it appears that one pur-
       pose of the "terrorism" was to release such materials; or
   5. The total of insured damage to all types of property exceeds $25,000,000. In determining whether
      the $25,000,000 threshold is exceeded, we will include all insured damage sustained by property of
      all persons and entities affected by the "terrorism" and business interruption losses sustained by
      owners or occupants of the damaged property. For the purpose of this provision, insured damage
      means damage that is covered by any insurance plus damage that would be covered by any insur-
      ance but for the application of any terrorism exclusions; or
   6. Fifty or more persons sustain death or serious physical injury. For the purposes of this provision, se-
      rious physical injury means:
       a.   Physical injury that involves a substantial risk of death; or
       b. Protracted and obvious physical disfigurement; or
       c.   Protracted loss of or impairment of the function of a bodily member or organ.
   Multiple incidents of "terrorism" which occur within a 72-hour period and appear to be carried out in con-
   cert or to have a related purpose or common leadership will be deemed to be one incident, for the pur-
   pose of determining whether the thresholds in Paragraphs C.5. or C.6. are exceeded.
   With respect to this Exclusion, Paragraphs C.5. and C.6. describe the threshold used to measure the
   magnitude of an incident of "terrorism" and the circumstances in which the threshold will apply, for the
   purpose of determining whether this Exclusion will apply to that incident. When the Exclusion applies to
   an incident of "terrorism", there is no coverage under this Coverage Part or Policy.
   In the event of any incident of "terrorism" that is not subject to this Exclusion, coverage does not apply to
   "any injury or damage" that is otherwise excluded under this Coverage Part or Policy.



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